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15                     IN THE UNITED STATES DISTRICT COURT
16
                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
17
18
     MUTULU SHAKUR,                               Case No.
                                                        ) 19-cv-00727
19
                       Petitioner,
20                                                    )
                                                  PETITION FOR A WRIT OF HABEAS
21                                                    )
                                                  CORPUS  PURSUANT TO 28 U.S.C.
              - vs -
                                                  § 2241
                                                      )
22
     LOUIS MILUSNIC, WARDEN, BUREAU OF               ) ACTION)
                                                  (CLASS
23
     PRISONS;
24   FEDERAL BUREAU OF PRISONS, UNITED               )
     STATES DEPARTMENT OF JUSTICE;                   )
25
     UNITED STATES PAROLE COMMISSION,
     UNITED STATES DEPARTMENT OF                     )
26
     JUSTICE,                                            )
27
28                     Respondents.
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28                                                     Center for Human Rights & Constitutional Law
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1
                             I. PRELIMINARY STATEMENT
2
3      1. Having served over thirty years of his federal sentence under the Parole
4
     Commission and Reorganization Act of 1976 (“PRCA”), Petitioner Mutulu
5
     Shakur became eligible for release on “mandatory parole” pursuant to 18 U.S.C.
6
7    § 4206(d) on February 10, 2016. Rather than release Shakur on mandatory
8
     parole in February 2016, the U.S. Parole Commission (“Commission”)
9
10   scheduled a hearing to determine Shakur’s mandatory parole on April 7, 2016.

11     2. The Commission denied Petitioner mandatory parole under the exceptions
12
     described in 18 U.S.C § 4206(d), finding his 1990 positive drug test and four
13
     minor phone-related infractions over 30 years of incarceration to be “serious”
14
15   and “frequent” institutional violations under the meaning of § 4206(d). The
16
     Commission further found a likelihood Petitioner would commit future crimes
17
     upon release based on Mr. Shakur’s non-violent political beliefs and his past
18
19   occasional use of the term “stiff resistance” to sign correspondence. Petitioner
20
     has not had a single rule violation during thirty years of incarceration involving
21
     violence or the threat of violence, he has an excellent prison record according to
22
23   Bureau of Prison’s (“BOP”) staff, and has for decades renounced the kind of
24
     criminal conduct he was engaged in more than thirty years ago to further
25
     political ends. He has consistently expressed support for peaceful and lawful
26
27   steps to address issues of social justice
28
       3. The Commission scheduled Petitioner for a new parole hearing on May 3,

     2018. On April 18, 2018, Petitioner through counsel submitted a letter to the
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1    Chairperson Smoot, U.S. Parole Commission, and the Hearing Examiner who
2
     would preside at Petitioner’s May 3, 2018, hearing. The detailed letter explained
3
     that there is adequate evidence that Mr. Shakur has not seriously or frequently
4
5    violated prison rules while incarcerated and would not reoffend and was
6
     therefore entitled to discretionary release under the terms 18 U.S.C. § 4206(a),
7
     and mandatory release under the terms of § 4206(d). In addition to the fact that
8
9    Petitioner had now served two additional years in custody since his last parole
10
     hearing without a single rule violation, Petitioner also provided new evidence in
11
     the form of letters by BOP Associate Warden Keilman, familial and professional
12
13   support letters, an analysis of Mr. Shakur’s relatively exemplary prison record,
14
     and a positive comprehensive risk assessment report. The aforementioned
15
     evidence overwhelmingly showed that Mr. Shakur was rehabilitated,
16
17   remorseful, able to re-integrate into society, and extremely unlikely to ever
18
     reoffend. See Letter from Peter Schey to Parole Commission (April 8, 2018)
19
     filed herewith as Appendix 1.
20
21     4.   Mr. Shakur had a subsequent parole hearing on May 3, 2018. At the
22
     parole hearing various BOP officials testified that Petitioner has been
23
     cooperative with staff in every way, had no rule violations since a 2014
24
25   telephone violation (discussed infra, in which he spoke to a group of
26
     university professors and students and urged non-violent peaceful political
27
     engagement), and generally there was no reason to believe he would
28                                                             Center for Human Rights & Constitutional Law
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1    reoffend if released. None of these persuasive evidence made any difference
2
     to the Parole Commission.
3
       5. At the parole hearing Petitioner made the following statement:
4
5                 At the time [of the crimes], we thought we were part of some
6
           violent political struggle against injustice … But that thinking was
7
           destructive, and it was hateful … I understand that no one else is to
8
9          blame for my participation in these crimes – I am responsible for my
10
           choices. I understand that I alone must accept responsibility for my
11
           crimes … Having lost a brother and stepson to violence, I understand
12
13         far better now the impact on those I left behind … I feel nothing but
14
           shame and disgrace for what I did …
15
                 But I also want the Commission to understand how I have
16
17         changed. From prison, I have watched the world change around me. I
18
           can see how my radical youthful views and behavior were pointless and
19
           destructive … [F]or many years [over 20 years, according to the record]
20
21         I have totally rejected violence or the use of violence. For the past
22
           twenty years, I have encouraged the inmate population to reject gang
23
           affiliation, and to reject criminal behavior. I have repeatedly
24
25         encouraged inmate groups and groups on the outside to bring about
26
           social change through peaceful, positive and constructive means …
27
28                                                              Center for Human Rights & Constitutional Law
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1          Inside the prison I constantly speak out about the importance of
2
           pursuing social change through peaceful means …
3
                    If I am granted release on supervised parole, I look forward to
4
5          being a productive and peaceful member of my community; I look
6
           forward to continuing to promote the importance of peaceful and lawful
7
           contributions of all people to help those who have special challenges in
8
9          life …
10
                    I have used the past 30 years to strengthen my inner beliefs, to
11
           strengthen my belief in God, to strengthen my commitment to peaceful
12
13         social change … I have cooperated with and respected the staff of the
14
           Bureau of Prisons. I have engaged in no acts of violence or threats of
15
           violence during 30 years of incarceration. That’s the course I am
16
17         committed to stay on if released from this prison on supervised parole.
18
     Parole Hearing Statement of Mutulu Shakur, filed herewith as Appendix 2.
19
           6.       Associate Warden S. Keilman, the Associate Warden of the prison
20
21   where Mr. Shakur has been incarcerated for many years, stated as follows:
22
           From my observation and that of my colleagues, it is widely held that …
23
           [Shakur] has consistently dedicated himself to maintain character that is
24
25         consistent with our goals of the safe and orderly operation of our facility,
26
           program involvement and he's demonstrated a personal initiative to
27
           enhance the overall environment to which he is engaged by maintaining
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1          a degree of respect across the various prisoner groups and my staff.
2
           Further, … this pattern has been consistent throughout the duration of
3
           his placement here; as evidenced by his direct involvement in
4
5          intervention of racial conflicts as it has been specifically reported to me.
6
     See Exhibit 1 to Appendix 1 (emphasis supplied)
7
           7.     Petitioner has an effective and realistic rentry plan he shared with
8
9    the Commission. Petitioners’ children have all grown up to become reputable
10
     and law-abiding citizens serving their communities in numerous positive ways
11
     and offered to provide Petitioner with permanent housing and support upon his
12
13   supervised release. Appendix 1 at pp. 2-5. Petitioner also has firm offers of
14
     employment. Id. at 3-4. He also has the support of over 70 faith-based leaders
15
     who affirm that he “has consistently promoted and supported the peaceful
16
17   resolution of social conflicts.” Appendix 1, Exhibit 7.
18
           8.     At the parole hearing, the same Hearing Examiner who had
19
     recommended against parole two years earlier, stated that he had not had
20
21   time to read the exhibits submitted to him and the Commission’s
22
     Chairperson on April 8, 2018, and he did not have time to review them
23
     before rendering his adverse decision and recommendation at the conclusion
24
25   of the hearing. He conceded there are only a handful of examiners assigned
26
     hundreds or more of cases throughout the country. The Commission’s
27
     Hearing Examiners cannot possibly be familiar with the records in the cases
28                                                              Center for Human Rights & Constitutional Law
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1    they preside over given their unreasonable workload. The Hearing Examiner
2
     dedicated most of the hearing to the testimony of relatives or associates of
3
     the victims, even though this testimony appears to be irrelevant to the factors
4
5    to be considered under the mandatory parole provision in 18 U.S.C. §
6
     4206(a). Even though for years Petitioner has accepted responsibility for the
7
     harms caused by the conspiracy in which he participated, including in
8
9    previous parole hearings, the Hearing Examiner stated at the conclusion of
10
     the hearing that the alleged recency of Petitioner’s acceptance of
11
     responsibility showed that his acceptance of responsibility was disingenuous
12
13   and insincere. No evidence of any kind supported this biased and arbitrary
14
     conclusion.
15
           9.      In a Notice of Action dated May 25, 2018, the Commission
16
17   adopted the Hearing Examiner’s recommendation to again deny parole,
18
     stating “there have been no significant developments or changes in your case
19
     to warrant a change in the previous decision to deny mandatory parole and
20
21   continue to expiration.” Notice of Action (May 25, 2018) (“Notice of
22
     Action”) at 1, filed herewith as Appendix 3. The Notice of Action states “the
23
     Commission continues to find that, for the same reasons as stated in the
24
25   Notice of Action dated April 20, 2016 (“2016 Notice of Action”), that you
26
     have seriously violated the rules of the institution and that there is a
27
28                                                             Center for Human Rights & Constitutional Law
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1    reasonable probability that you will [if released] commit Federal, State, or
2
     Local crime[s].” Id.
3
           10.    The Commission included only one additional reason for
4
5    denying parole in May 2018. The Commission “considered [Mr. Shakur’s]
6
     statement at this hearing in which you now, for the first time ever, admit
7
     culpability for your offense of conviction …” Id. Without pointing to any
8
9    evidence in the record, the Commission simply adopts the Hearing’s
10
     Examiner’s finding that the supposed recency of Petitioner’s acceptance of
11
     responsibility, made his acceptance of responsibility “suspect and … self-
12
13   serving and disingenuous.” Id.
14
           11.    The assertion that this was the “first time ever” that Petitioner
15
     accepted culpability or expressed remorse for his crimes is erroneous and
16
17   again evidences the Commission’s failure to review or consider the entire
18
     record. Over the years, Petitioner has repeatedly and increasingly expressed
19
     remorse and accepted responsibility for his crimes.
20
21         12.    On June 25, 2018, Petitioner submitted a timely Petition for
22
     Reconsideration of the new denial of parole (“Petition for Reconsideration”).
23
     The Petition for Reconsideration included ten arguments supporting the
24
25   position that under any reasonable interpretation of the apposite federal
26
     statute, Mr. Shakur should be released on parole. See Appendix 4 filed
27
     herewith.
28                                                            Center for Human Rights & Constitutional Law
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1          13.    While traditionally such appeals would be heard by a National
2
     Appeals Board, the three-member Commission now serves as its own
3
     Appeals Board and therefore simply reviews its own decisions. There is now
4
5    no independent administrative review when one appeals to the so-called
6
     National Appeals Board, which is simply the same Commission members
7
     meeting with a different name.
8
9          14.    On July 25, 2018, the National Appeals Board (aka the
10
     Commission) rejected Petitioners’ Petition for Reconsideration in all
11
     respects and reaffirmed the Commission’s initial April 2018 Notice of
12
13   Action. See Appendix 5 filed herewith.
14
           15.    Regarding federal parole determinations and Commission
15
     interpretations of federal law, a federal court may adjudicate whether the
16
17   Commission has (1) acted outside of or misinterpreted its statutory or regulatory
18
     mandates; (2) made a decision that was arbitrary, irrational, unreasonable,
19
     irrelevant or capricious; or (3) violated the Constitution.
20
21         16.    In violation of its enabling statute, promulgated regulations,
22
     fundamental fairness required by the due process and equal protection
23
     guarantees of the Fifth Amendment, and freedom of speech enshrined in the
24
25   First Amendment, the Commission, as it had done in 2016, inter alia –
26
           (1)    misinterpreted its enabling statute § 4206 to make a denial of
27
     mandatory parole under § 4206(d) effectively a permanent denial of parole by
28                                                                 Center for Human Rights & Constitutional Law
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1    not also evaluating prisoners for release under § 4206(a) once denied parole
2
     under § 4206(d);
3
           (2)    proffered entirely pretextual and irrational reasons for its denial of
4
5    mandatory parole, including implausible interpretations of the terms “seriously”
6
     and “frequently” as used in § 4206(d), terms the Commission has failed to
7
     define for purposes of uniformity in parole decisions;
8
9          (3)    impermissibly considered and retaliated against the content of
10
     Petitioner’s protected and entirely non-violent political speech;
11
           (4)    failed to give Petitioner and counsel notice prior to the parole
12
13   hearing, as required under its own regulations, of letters and testimony on which
14
     it intended to rely at the parole hearing;
15
           (5)    by resting in large part on its 2016 decision, and in violation of its
16
17   own regulations, the Commission considered ancient non-violent prison rule
18
     violations and non-violent statements made by Petitioner not considered in prior
19
     parole hearings;
20
21         (6)    allowed and relied upon irrelevant and unsupported testimony from
22
     a former prosecutor and an FBI investigator as to Petitioner’s current state of
23
     mind and likelihood to recidivate, ignoring its mandate to operate independently
24
25   of other bureaus in the Department of Justice;
26
           (7)    ignored, without explanation, the entire record of evidence that
27
     Petitioner has for over two decades repeatedly and publicly denounced the use
28                                                               Center for Human Rights & Constitutional Law
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1    of violence in any form to achieve political ends, including the consistent and
2
     uniform observations of BOP officials; and
3
           (8)    erroneously and arbitrarily rejected Petitioner’s statements of
4
5    remorse and acceptance of responsibility by stating, with no support in the
6
     record, that his statements were “suspect … self-serving and disingenuous.”
7
          17.     The Commission has also treated Petitioner far differently from
8
9    similarly situated inmates who have been considered for mandatory release.
10
     Based on records released by the Commission on September 23, 2016, in
11
     response to a request for documents under the Freedom of Information Act
12
13   (“FOIA”) of all mandatory parole (§ 4206(d)) Notices of Decision issued over
14
     the past two years (the time period covered by the FOIA request), the
15
     Commission had not denied mandatory parole to any inmate with an
16
17   institutional violation history similar to Petitioner’s prison history.
18
                              II. JURISDICTON AND VENUE
19
          18.     This Court has jurisdiction over this action pursuant to U.S. Const.
20
21   Art. III; 28 U.S.C. § 2241. Petitioner also believes the court has jurisdiction
22
     under 28 U.S.C. § 1331 (federal question jurisdiction).
23
          19.     Petitioners’ prayer for declaratory relief is brought pursuant to 28
24
25   U.S.C. §§ 2201 and 2202.
26
          20.     Petitioner is detained in this judicial district. Venue is properly in
27
     this court pursuant to 28 U.S.C. § 2241(a) (“The order of a circuit judge shall be
28                                                                Center for Human Rights & Constitutional Law
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1    entered in the records of the district court of the district wherein the restraint
2
     complained of is had”); see also 28 U.S.C. § 1391(b) and (e)(1), (2), and (4).
3
                                         III. PARTIES
4
5         21.     Petitioner Mutulu Shakur is incarcerated at the United States
6
     Penitentiary, Victorville (USP Victorville), 13777 Air Expressway Blvd.,
7
     Victorville, CA 92394, under Bureau of Prisons Register No. 83205-012.
8
9         22.     Respondent Louis Milusnic is the Warden of the United States
10
     Penitentiary, Victorville (USP Victorville), 13777 Air Expressway Blvd.,
11
     Victorville, CA 92394. As Warden, Respondent Shinn has custody of Petitioner.
12
13        23.      Respondent the Federal Bureau of Prisons is a United States law
14
     enforcement agency responsible for the administration of the federal prison
15
     system.
16
17        24.     Respondent the U.S. Parole Commission is the federal agency
18
     responsible for making parole decisions regarding Petitioner’s release or
19
     continuation in custody.
20
21                               IV. CLASS DEFINITION
22
          25.     The proposed class pertains only to Petitioner’s First Claim for
23
     Relief: Violation of the Parole Commission and Reorganization Act, 18 U.S.C.
24
25   § 4206(d), as interpreted and applied in 28 C.F.R. § 2.53, and Fifth Amendment
26
     due process and equal protection, by effectively making denial of mandatory
27
     parole under § 4206(d) a permanent denial of parole and refusing to consider
28                                                                Center for Human Rights & Constitutional Law
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1    release under § 4206(a) when the Commission denies parole under § 4206(d),
2
     and by failing to issue and consistently apply standards regarding the
3
     Commission’s interpretation of the terms “serious” and “frequently” as used in §
4
5    4206(d).
6
          26.     Pursuant to Rules 23(a)(1)-(4) and (b)(2) of the Federal Rules of
7
     Civil Procedure, Petitioner brings this action as a class action on behalf of the
8
9    following proposed class:
10
           All current United States Bureau of Prisons’ inmates (1) denied parole
11
           under 18 U.S.C. § 4206(d) who the Parole Commission failed or refused
12
13         to consider for release on parole under § 4206(a), or (2) whose parole was
14
           denied based on the prisoner having committed a “serious” rule violation
15
           or having “frequently” violated prison rules without the Commission
16
17         having applied any published and known standards regarding it’s
18
           interpretation of these terms.
19
          27.     The size of the class is several hundred prisoners and is so
20
21   numerous that joinder of all members is impracticable.
22
          28.     The claim of Petitioner and those of the proposed class members
23
     raise common questions of law and fact. These questions are common to the
24
25   named parties and to the members of the proposed class because Respondent,
26
     the U.S. Parole Commission has acted or continues to act on grounds generally
27
     applicable to both the Petitioner and proposed class members. Petitioner’s claim
28                                                              Center for Human Rights & Constitutional Law
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1    is typical of the class claim.
2
          29.      The prosecution of separate actions by individual members of the
3
     class would create a risk of inconsistent or varying adjudications establishing
4
5    incompatible standards of conduct for Respondent US Parole Commission.
6
     Prosecution of separate actions would also create the risk that individual class
7
     members will secure court orders that would as a practical matter be dispositive
8
9    of the claims of other class members not named parties to this litigation, thereby
10
     substantially impeding the ability of unrepresented class members to protect
11
     their interests.
12
13        30.      Respondent US Parole Commission, its agents, employees,
14
     predecessors and successors in office have acted or refused to act, or will act or
15
     refuse to act, on grounds generally applicable to the class, thereby making
16
17   appropriate injunctive relief or corresponding declaratory relief with respect to
18
     the class as a whole. Petitioner will vigorously represent the interests of
19
     unnamed class members. All members of the proposed class will benefit by the
20
21   action brought by Petitioner. The interests of the Petitioner and those of the
22
     proposed class members are identical. Petitioner’s counsel includes attorneys
23
     highly experienced in federal class action litigation involving issues of statutory
24
25   construction.
26
27
28                                                              Center for Human Rights & Constitutional Law
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1               V.     RULES RELATING TO U.S. PAROLE COMMISSION
2
          31.        Congress passed the PCRA1 in 1976 to “provide[] an infusion of
3
     due process in Federal parole procedures,”2 which Congress characterized at that
4
5    time as “the single most inequitable, potentially capricious, and uniquely
6
     arbitrary corner of the criminal justice map.” 3
7
          32.        Under the PCRA, the Parole Commission would have nine
8
9    members: a chair, three National Commissioners who would sit on the National
10
     Appeals Board, and five Regional Commissioners who would make first-level
11
     parole decisions in their geographic regions. See 18 U.S.C. §§ 4202, 4204(a)(5).
12
13        33.        The Sentencing Reform Act of 1984 (“SRA”), at § 218(a)(5), 98
14
     Stat. 2027, effective November 1,1987, abolished federal parole and created
15
     sentencing guidelines. Section 235(b)(1)(A), 98 Stat. 2032, kept the Parole
16
17   Commission alive for five years to process cases of prisoners convicted of
18
     crimes committed before the effective date of the SRA. Since that time,
19
     Congress has periodically extended the life of the Commission to provide parole
20
21   hearings for a dwindling number of long-term prisoners sentenced under the
22
23
24
25
     1 Pub. L. No. 94-233, 90 Stat. 219 (1976), now codified (as amended) at 18
26
     U.S.C. §§ 4201-4218.
27   2 H.R. Rep. 94-184, 94th Cong. 1st Sess. 2 (1975).
28   3 Id.
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            4                                                                                     5
1    PCRA. In 1997, Congress decreased the number of Commissioners to five.
2                                                                    6
     Currently there are only three acting Parole Commissioners.
3
4         34.     Under the PCRA, a Hearing Examiner presides at each parole
5    hearing, prepares a summary of findings, and makes a recommendation on
6
     parole. That recommendation is reviewed by a second examiner, and a third, if
7
8    necessary, and finally by a Regional Commissioner. 28 C.F.R. §§ 2.13(a),
9            7
     2.23(b). In some cases, such as Petitioner’s, the case is designated as an
10
     “Original Jurisdiction” case under 28 C.F.R. §2.17. In an Original Jurisdiction
11
12   case, the entire Commission (currently only three people) votes on the
13
     disposition of the parole decision and then also votes on a prisoner’s appeal of
14
                         8
15   the parole decision.

16
17   4 The life of the Commission was last extended by the United States Parole
18   Commission Extension Act of 2018, Pub. L. 115-274 (extending
     the Commission for two additional years).
19
     5 See National Capital Revitalization and Self-Government Improvement Act of
20   1997, § 11231(d), Pub. L. No. 105-33, 111 Stat. 745-46 (1997).
21   6 See Parole Commission webpages, “Meet the Chairman” and “Meet the
     Commissioners” at https://www.justice.gov/uspc/meet-chairman and
22
     https://www.justice.gov/uspc/meet-commissioners (listing only three members)
23   (last checked March 16, 2018).
     7 It is not clear that the Commission currently designates any of its staff to serve
24
     as Regional Commissioners. The Commission appears now to have only three
25   voting members.
26   8 See 28 C.F.R. § 2.17 (“The decision in an original jurisdiction case shall be
     made on the basis of a majority vote of Commissioners holding office at the time
27   of the decision.”).
28                                                              Center for Human Rights & Constitutional Law
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1         35.     At present, the same three Commissioners who initially deny parole
2
     in Original Jurisdiction cases then sit as a “National Appeals Board” (“NAB”) to
3
     hear any appeal. As such, there is now no meaningful administrative appellate
4
5    review of denials made under Original Jurisdiction cases under C.F.R. §§ 2.17
6
     and 2.27.
7
                                V. STATEMENT OF FACTS
8
9    A.    Petitioner’s Pre-Conviction Background
10
          36.     Jeral Wayne Williams, now known as Mutulu Shakur, was born
11
12   August 8, 1950 in Baltimore, Maryland, the only son of a single mother blinded

13   from glaucoma. Growing up in an African American community in Queens,
14
     Petitioner was confronted with gang violence and was profoundly disturbed by
15
16   the epidemic of drug addiction, poverty and unemployment among the youth.

17        37.     At the age of 16, Petitioner joined the Republic of New Afrika and
18
     the New Afrikan Independence movement, a social and political movement that
19
20   advocated for the establishment of an African American state within the U.S.

21   where African Americans could live outside of institutional discrimination.
22
     These groups advocated that their goals should be achieved through plebiscites
23
24   and elections, not political violence.

25        38.     When he was 20 years old, Petitioner volunteered at Lincoln
26
     Hospital in the Bronx in New York. He later helped build the detox program at
27
28   Lincoln. He traveled to Canada and China to study acupuncture and returned to
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1    Harlem where he and colleagues started the Black Acupuncture Advisory
2
     Association of North America (BAAANA). He was instrumental in developing
3
     protocols for acupuncture treatment of drug addiction. Petitioner also helped
4
5    prepare petitions to the United Nations in conjunction with the National
6
     Conference of Black Lawyers regarding discrimination and disenfranchisement
7
     black Americans were experiencing in the United States.
8
9         39.     Unbeknownst to Petitioner at the time, the FBI considered his
10
     lawful activities sufficient to warrant targeting him through its Counter
11
     Intelligence Program (COINTELPRO).
12
13        40.     COINTELPRO became public in March 1971. FBI Director J.
14
     Edgar Hoover ordered FBI agents to “expose, disrupt, misdirect, discredit,
15
     neutralize or otherwise eliminate” the activities of movements and their leaders
16
                               9
17   deemed to be subversive. Under the program “[g]roups and individuals have
18
     been assaulted, repressed, harassed and disrupted because of their political
19
20   views, social beliefs and their lifestyles … Unsavory, harmful and vicious

21   tactics [were] employed—including anonymous attempts to break up marriages,
22
     disrupt meetings, ostracize persons from their professions, and provoke target
23
24
25
26   9 Introduction and Summary (PDF), Intelligence Activities and the Rights of
     Americans - Church Committee final report. United States Senate website
27   (United States Government), 1976-04-26. p. 10. Archived (PDF) from the
28   original on 2014-04-18. Retrieved 2014-07-15.
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                                                           10
1    groups into rivalries that might result in deaths.” COINTELPRO in some
2
     instances encouraged committed civil rights individuals to withdraw from
3
4    peaceful grassroots organizing and become involved in armed and unlawful

5    actions.
6
          41.     United States District Judge Haight, Jr., the trial judge in
7
8    Petitioner’s case, observed --

9          Documents obtained by Shakur and associates under the Freedom of
10
           Information Act demonstrate that for a considerable time Shakur and
11
12         the Republic of New Afrika, with which Shakur was at all pertinent

13         times closely associated, have been the subject of illegal surveillance,
14
           harassment, and disinformation by the FBI as part of that lamented,
15
                                                                   11
16         unconstitutional project known as COINTELPRO ...
17         Having failed to review the record, one of the reasons the Commission
18
     provided in 2016 for denying parole was Petitioner’s accurate reference to
19
20
21
     10 Intelligence Activities and the Rights of Americans Book II, Final Report of
22
     the Select Committee to Study Governmental Operations with respect to
23   Intelligence Activities, United States Senate (Church Committee),
24   Retrieved May 11, 2006.
     11 United States v. Shakur, 1988 U.S. Dist. LEXIS 2762, pp. 16-17 (1988). In
25   Judge Haight’s view, “Petitioner while exercising constitutional liberties was
26   illegally pursued by federal law enforcement officers … [T]he rights of
     Petitioner … were violated by the COINTELPRO program.” United States v.
27   Shakur, 1990 U.S. Dist. LEXIS 16219, 1990 WL 200646 (S.D.N.Y. Nov. 28,
28   1990).
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1    himself as a victim of the COINTELPRO program. The Commission
2
     concluded this showed he is likely to re-offend if released. In 2018 the
3
     Commission simply adopted its 2016 decision as the primary basis for its denial
4
5    of parole. See Appendix 3 at 1.
6
                  B.     Petitioner’s Indictment, Conviction, and Sentencing
7
8         42.     On April 21, 1982, Petitioner and ten others were indicted in the

9    Southern District of New York. The indictment alleged that from December
10
     1976 to October 1981, an integrated “revolutionary armed task force,” called
11
12   simply "The Family," committed a succession of robberies of banks and

13   armored trucks in the Northeast.12 Additionally, Petitioner and others were
14
     charged with participating in a 1979 prison escape of Assata Shakur. The
15
16   Family’s final crime, the "Brinks robbery" of October 20, 1981, resulted in the

17   shooting deaths of a Brinks guard and two police officers as some of the
18
     Respondents attempted to flee the scene of the robbery. Four participants in the
19
20   Brinks robbery were apprehended fleeing the scene, including at least one who

21   admitted killing a Brink’s guard. Several others were arrested later, not
22
     including Petitioner.13
23
24
     12 The indictment charged that the Respondents conspired to violate the
25   Racketeer Influenced and Corrupt Organizations Act ("RICO"), two bank
26   robberies, two armed bank robberies and two bank robbery killings.
     13 These Respondents were tried together in 1983. None were convicted of the
27   murders. United States v. Shakur, 565 F.Supp. 241 (S.D.N.Y. 1987), rev’d on
28   other grounds, 817 F.2d 189 (2d Cir. 1987). Six of the eleven Respondents
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1         43.     Petitioner was arrested on February 11, 1986. His jury trial took
2
     place in 1988. The indictment alleged a conspiracy to commit several "fund-
3
     raisers" or armed robberies to raise money for the political activities of the
4
5    conspiracy members. On information and belief, no evidence at trial showed that
6                                     14
     Petitioner ever killed anyone.
7
8         44.     The jury found Petitioner guilty of conspiracy to violate the

9    Racketeer Influenced and Corrupt Organizations Act, participation in a
10
     racketeering enterprise, bank robbery, armed bank robbery, and bank robbery
11
12   murder. At the sentencing of Petitioner, Judge Haight said, “many people have

13   written to me on behalf of Petitioner… It is said that he is a skilled and
14
     compassionate healer who has done much good. I believe that to be true.” Judge
15
16   Haight added, “this case represents an American tragedy of broader dimensions

17   than the Government is willing to acknowledge.”
18
19   named in the indictment were tried: two of the Respondents were convicted on
20   RICO counts, two were found guilty as accessories after the fact, and two were
     acquitted on all charges. All found guilty have long ago been released. Judy
21   Clark, convicted in the New York state courts for her role in the 1981 robbery of
22   a Brink's armored truck in New York in which police officers and a Brinks guard
     were killed, has also been ordered released on parole.
23   14 Co-Respondent Tyrone Rison admitted killing a guard during the. Brinks
24   robbery and on information and belief received a six-year sentence in return for
     his testimony at Petitioner’s trial that Petitioner was one of the founders of the
25   “Family” and one of its core members. At Petitioner’s trial the Government
26   alleged it had a tape-recorded statement of Petitioner admitting that he was
     present or involved in the Brinks robbery where deaths occurred. However, after
27   conducting an audibility hearing, Judge Haight ruled that the tapes were
28   unintelligible and not admissible evidence.
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1                 C.     Petitioner’s Overall Institutional Conduct
2
          45.      Petitioner has led a highly productive and exemplary life in prison,
3
4    influencing his stepson Tupac Shakur's career as a world-wide renowned hip hop

5    artist with messages of non-violence that reached millions of young people.
6
          46.     As established by letters in the record and Petitioner 's statements at
7
8    several parole hearings, throughout his incarceration Petitioner has been

9    outspoken against gang violence and crime. He has consistently expressed
10
     support for peaceful and constructive changes in all matters involving racial
11
12   disparities and social justice. He has never in thirty years of incarceration

13   supported or in any way implied support for criminal conduct or violence to
14
     achieve social justice.
15
16        47.     There is overwhelming and uncontroverted evidence in the record

17   of Petitioner’s rehabilitation and positive conduct. Mr. Shakur’s institutional
18
     history “serves as perhaps the most reliable evidence that upon release he will
19
20   not reoffend.” Appendix 1 at 6. In a parole hearing held sixteen years ago on

21   July 17, 2002, the Hearing Examiner stated:
22
           And we've also, of course looked at your salient factor score, which gives
23
24         us an idea of what kind of a parole risk you would be. And of course, you

25         had no prior record prior to this series of events. And so your salient
26
           factor score is the best score it can be. It's a ten, which would indicate that
27
28         you would be falling in the good parole risk category. [Emphasis added].
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1        48.      A BOP supervisor testified at the 2002 hearing:
2
           Well, I'm here on Shakur's behalf. He asked me to come … and speak up
3
           for him. And also want to say as (inaudible) and it's been honor
4
5          [supervising him]. And he's been working for me probably 5 or 6 years,
6
           I'm not sure how long. He's been an asset to the job. He's an asset to me. I
7
           can say he's an asset in general. [Emphasis added].
8
9        49.      A September 29, 2002, Initial Hearing Summary provides the
10
     following assessment of Petitioner’s conduct:
11
           Subject has programmed extensively while in BOP custody. His
12
13         accomplishments are well documented in the record and also in the
14
           progress report dated 5/16/2002. In addition, subject submitted a copy
15
           of a certificate dated September 2002 in which he completed 33 hours
16
17         in the CHANGE Psychotherapy Group program. Subject indicated that
18
           he has been involved in educational and recreational activities from a
19
           cultural diversity standpoint, in that he has helped line up speakers for
20
21         workshops ... [Mr. Shakur] is involved in working with older inmates
22
           in helping them and himself understand the impact of aging and stress-
23
           related factors associated with institution life.
24
25       50.      The Statutory Interim Hearing Prehearing Assessment prepared for
26
     Petitioner’s September 9, 2004, review states in part:
27
28                                                             Center for Human Rights & Constitutional Law
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1          … [T]he Subject has satisfactory institutional adjustment. He
2
           currently works 32 hours per week on Laundry detail. On 2/13/03, he
3
           received a certificate for completion of the Elder Inmate
4
5          Psychotherapy Group. He has maintained clear institutional conduct
6
           for the past 36 months. He has completed the A&O Program and will
7
           participate in the Pre-Release Program prior to release.
8
9    While the BOP considered Petitioner a candidate for a “pre-release
10
     program” as long ago as 2004, the Commission, which knows far less about
11
     Petitioner’s institutional history than the BOP, has still not authorized his
12
13   release some fourteen years later.
14
          51.     In January 2005 Petitioner’s Unit Manager, A. Kingston, submitted
15
     a memorandum to his superiors stating –
16
17         [Petitioner] has participated in the programs as recommended by his Unit
18
           Team. He has completed his GED requirements and his obligations to the
19
           Inmate Financial Responsibility program. He has earned good work
20
21         performance evaluations … [T]he Unit Team does not believe this inmate
22
           to be a management problem and a custody reduction would not pose a
23
           threat to the security of this institution …
24
25        52.     The Hearing Summary of a February 8, 2005 hearing states:
26
           Since the last hearing this subject has completed Victim Impact, Stress
27
           Management and Anger Management. He participates in the Elder
28                                                               Center for Human Rights & Constitutional Law
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1          Cycle Therapy Group and he is an active member of the Suicide
2
           Watch Team … The subject receives good work reports from his job
3
           assignment ...
4
5         53.     In 2006 Petitioner developed a proposal for the development of a
6
     program under which able-bodied inmates would provide assistance to inmates
7
     with physical or mental disabilities. The proposal included recommendations
8
9    such as inmates helping disabled inmates with cell cleanliness, education,
10
     support groups, discussion groups, etc.
11
          54.     The Hearing Summary of the parole hearing conducted December
12
13   11, 2007, states in part:
14
           [Petitioner] is also a founding member of the Coleman Penitentiary
15
           No. 2 NAACP Chapter and received a certificate for this. Also in
16
17         Atlanta, he took 6 hours of Group Psychotherapy Courses. The subject
18
           also participated in Culture Diversity Classes in 2006 and 4 hour
19
           Suicide Prevention Course in April 2005.
20
21        55.     Petitioner’s Statutory Interim Hearing Pre-Hearing Assessment
22
     dated November 5, 2007, states in part:
23
           … the Subject has satisfactory institutional adjustment. He currently
24
25         works 32 hours per week on Laundry detail … He has maintained
26
           clear institutional conduct for the past 36 months. He has completed
27
28                                                            Center for Human Rights & Constitutional Law
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1              the A&O Program and will participate in the Pre-Release Program
2
               prior to release … [Emphasis supplied].
3
          56.        Petitioner’s December 2, 2009, Hearing Summary states in part:
4
5              Discipline: None ... [Petitioner] has completed five programs since his
6
               hearing in 2007. They include Biography, Explorers in Early America,
7
               ... Engineering and Empire, and History and Science Part 1. [Emphasis
8
9              added].
10
          57.        Petitioner’s March 15, 2012 Interim Hearing Pre-Hearing
11
     Assessment states:
12
13             [T]he subject’s adjustment since his last hearing has been without
14
               incident … He has completed seven education courses … He is currently
15
               enrolled in Human Rights … His institutional adjustment has been
16
17             satisfactory. He has participated in programs, maintained a job
18
               assignment and has not incurred any DHO infractions since his last
19
               hearing … . [Emphasis added].
20
21        58.        Petitioner’s July 30, 2014 Interim Hearing Pre-Hearing Assessment
22
     states:
23
               Since his last hearing on 7/2/2012 the subject has completed 98 hours
24
25             of educational/vocational programming ….
26
          59.        The Hearing Summary of Petitioner’s August 12, 2014, parole
27
     hearing states in part:
28                                                                Center for Human Rights & Constitutional Law
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1          Testimony of Case Manager Mico: Ms. Mico stated that the offender is
2
           very respectful of staff and inmates and has continuously availed
3
           himself to programs. She testified that the offender recently suffered a
4
5          stroke … . [Emphasis added].
6
         60.      The Commission’s pre-hearing disclosures made shortly before
7
     Petitioner’s May 2018 hearing includes a letter from Dr. S. Peprah, Deputy
8
9    Chief Psychologist at BOP Victorville reporting on Petitioner’s commendable
10
     work as a trained Suicide Watch Inmate Companion, including updating staff on
11
     all developments during suicide watches and maintaining clear and accurate
12
13   communication with BOP staff. The pre-hearing disclosures also includes the
14
     results of a BOP Mock Job Fair Interview Evaluation in which Petitioner scored
15
     “excellent” in every area and received comments such as “You have a ton
16
17   experience that should be passed on to the less fortunate and younger
18
     generation!” Also in the Commission’s pre-hearing disclosure is a letter from
19
     Matthew Schuldt, the Assistant Supervisor of Education for the facility, who
20
21   states in part that Petitioner has been working as an adult continuing education
22
     tutor in the prison’s Education Department, “maintains a good attitude and
23
     motivates other inmates to participate in education programs.” Among other
24
25   things, he “teaches a human rights class to other inmates.” 15 As noted above, the
26
27   15 The Commission’s pre-hearing disclosure documents also contained copies
28   of certificates Petitioner was awarded over the previous year as a result of his
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1    Deputy Warden of the prison provided a letter clearly stating that in his
2
     professional opinion Petitioner was rehabilitated and would not reoffend if
3
     released on parole. See Exhibit 1 to Appendix 1.
4
5          61.    Throughout this time, Petitioner maintained the best score possible
6
     on the Commission’s scale of parole risk, a 10 salient factor score. The Salient
7
     Factor Score (“SFS”) is explicated at length in regulations promulgated at 28
8
9    C.F.R. § 2.20 (containing Parole Guidelines and Salient Factor Scoring
10
     Manual).
11
     VI.    THE COMMISSION’S MISINTERPRETATION OF ITS ENABLING
12
            STATUTE AND VIOLATION OF ITS REGULATIONS AND THE
13          CONSTITUTION
14
     A.     The Commission’s promulgated regulation on mandatory parole
15          conflicts with the authorizing statute and overall statutory scheme
16          and prejudices all potential parolees with severe, permanent
            adjudications that are arbitrary, irrational, and capricious.
17
18         62.    Under the normal course, the PCRA affords all prisoners parole

19   hearings under the “discretionary parole” criteria of 18 U.S.C. § 4206(a), which
20
     requires the Commission to release a prisoner on parole if the prisoner: (1) has
21
22   “substantially observed the rules of the institution … to which he has been

23   confined;” (2) if “release would not depreciate the seriousness of his offense or
24
     promote disrespect for the law;” and (3) if “release would not jeopardize the
25
26
     continuing education programs, including for completing courses in human
27   rights, financial management, parenting skills, tutoring and becoming a
28   Microsoft Expert.
     PETITION FOR A WRIT OF HABEASU CORPUS                     Center for Human Rights & Constitutional Law
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     28 U.S.C. § 2241                                                                        213/388-8693
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1    public welfare.” 18 U.S.C. § 4206(a).16
2
          63.     Congress also provided that prisoners sentenced to longer terms
3
     who had not received discretionary parole after two thirds of their term or 30
4
5    years were afforded a second more liberal path to parole under 18 U.S.C. §
6
     4206(d):
7
           Any prisoner, serving a sentence of five years or longer, who is not
8
9          earlier released under [18 U.S.C. § 4206(a)] …, shall be released
10
           on parole after having served two-thirds of each consecutive term
11
           or terms, or after serving thirty years of each consecutive term …
12
13         Provided, however, That the Commission shall not release such
14
           prisoner if it determines that he has seriously or frequently violated
15
           institution rules and regulations or that there is a reasonable
16
17         probability that he will commit any Federal, State, or local crime.
18
           64.    Congress stated that it intended the "mandatory parole"
19
     provision in § 4206(d) to provide “a more liberal criteria [than under
20
21   4206(a)] for release on parole for prisoners with long sentences after
22
     they have completed two-thirds of any sentence or thirty years,
23
24
25
26
     16 If an inmate is not released following the initial discretionary parole hearing,
27   subsequent proceedings (“statutory interim hearings”) are held every two years
28   under the same § 4206(a) criteria. See 18 U.S.C. § 4208(h)(2); 28 C.F.R. § 2.14.
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1    whichever occurs first." S. Rep. No. 94-648, at 27 (1976) (Conf. Rep.)
2
     (emphasis added). Congress explained the purpose of the sections:
3
           The purpose of [Section 4206(d)] is to insure at least some minimum
4
5          period of parole supervision for all except those offenders who have
6
           the greatest probability of committing violent offenses following their
7
           release so that parole supervision is part of their transition from the
8
9          institutional life of imprisonment to living in the community.”
10
     H. Rep. 94-648, 94th Cong., 2d Sess. 27, 1976 U.S.C.C.A.N. 351 (emphasis
11
     added).
12
13         65.    However, if the Commission denies parole under 4206(d), it does
14
     not consider release under 4206(a). Under this approach, for Petitioner and the
15
     proposed class members, § 4206(d) turns becomes a far harsher standard than §
16
17   4206(a). The Commission’s finding that a prisoner “seriously” or “frequently”
18
     violated prison rules leaves prisoners ineligible for release under § 4206(d) and
19
     the Commission then refuses to consider release under § 4206(a), even though
20
21   the same rule violations may not bar release under § 4206(a).
22
           66.    The Commission’s rule on mandatory parole is promulgated at 28
23
     C.F.R. § 2.53. Without support in the text of the statute, the Commission’s rule
24
25   states a prisoner denied mandatory parole will serve “until the expiration of his
26
     sentence”:
27
28                                                              Center for Human Rights & Constitutional Law
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1          2.53 Mandatory parole. (a) A prisoner … shall be released on parole
2
           after … completion of 30 years of each term or terms of more than
3
           45 years (including life terms … unless … the Commission
4
5          determines that there is a reasonable probability that the prisoner will
6
           commit any … crime or that the prisoner has frequently or seriously
7
           violated the rules of the institution in which he is confined. If parole
8
9          is denied pursuant to this section, such prisoner shall serve until the
10
           expiration of his sentence less good time. [Emphasis added].
11
           67.    Consistent with the Commission’s regulation, a Commission
12
13   General Counsel's memo of September 22, 2011, states that after serving two
14
     thirds of their sentences, inmates are only eligible for release under § 4206(d),
15
     not § 4206(a). Memorandum of Commission General Counsel to Commission
16
17   dated September 22, 2011 (September 22, 2011).
18
           68.    18 U.S.C. § 4208(h)(2) provides that all prisoners are statutorily
19
     entitled to Interim Hearings. In order to comply with § 4208, the Commission
20
21   affords prisoners denied mandatory parole with subsequent Interim Hearings,
22
     but provides that all subsequent Interim Hearings will proceed only under §
23
     4206(d) rather than the normal §4206(a) standard:
24
25         2.53-06. Subsequent hearings for long-term prisoners denied
26
           mandatory parole. If the denial of mandatory parole results in a
27
           continuance for the prisoner that exceeds the applicable time period
28                                                              Center for Human Rights & Constitutional Law
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1          for an interim hearing (either every 18 or 24 months), the prisoner
2
           must be scheduled for a subsequent interim hearing. At the interim
3
           hearing, the prisoner shall be considered for parole under the
4
5          mandatory parole criteria of §2.53(a).
6
     USPC Rules and Procedures Manual 2.53-06 (June 30, 2010) (emphasis added).
7
           69.    In most cases, the effect of conducting subsequent interim hearings
8
9    under the mandatory parole criteria of § 4206(d) and C.F.R. § 2.53 is to deny
10
     parole in perpetuity (as rule 2.53 states, “until expiration”) because no relevant
11
     fact (i.e. past prison rule violations) under § 2.53 could change between the
12
13   initial mandatory parole hearing and subsequent hearings.
14
           70.    In 2014, a Hearing Examiner in this case recommended Petitioner
15
     be paroled in early 2015 pursuant to § 4206(a). The recommendation was based
16
17   on Petitioner’s rehabilitation and “substantial observ[ance]” of prison
18
     regulations over 28 years. Hearing Summary (August 19, 2014), at 4. This
19
     recommendation was rejected by the Commission solely because of a single
20
21   telephone rule violation in 2013. Notice of Action (September 4, 2014).
22
           71.    However, two years later, in the 2016 hearing, under the
23
     Commission’s interpretation of § 4206(d), Petitioner’s history of substantially
24
25   observing institutional regulations as reflected, inter alia, in his superior 10
26
     Salient Factor Score and 2014 Hearing Examiner’s report, is irrelevant because,
27
     according to the Commission, a 30-year old positive drug test (of questionably
28                                                               Center for Human Rights & Constitutional Law
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1    validity), and a handful of relatively minor telephone rule violations, bar release
2
     under § 4206(d). See (2016 Notice of Action) Appendix 6, at 1.17
3
4          72.    Nothing in the statutory language or Congressional record supports

5    the Commission’s interpretation of § 4206(d) as expressed in the Commission’s
6
     parole decisions and C.F.R. § 2.53.18
7
8    B.    The Commission violated its pre-hearing disclosure obligations.
9
           73.    Section 4208(b) requires that at least thirty days prior to any parole
10
     determination the prisoner shall be provided with reasonable access to any
11
12   report or document to be used by the Commission in making its determination.
13
     28 C.F.R. § 2.55 provides in relevant part:
14
           At least 60 days prior to a hearing scheduled pursuant to 28 CFR 2.12
15
16         or 2.14 each prisoner shall be given notice of his right to request
17
           disclosure of the reports and other documents to be used by the
18
           Commission in making its determination ...
19
20
21
22
23   17 In 2018 the Commission simply adopts in 2016 decision and repeats that
24   Petitioner was being denied parole because he had “seriously” violated the
     institution’s rules. Appendix 3.
25   18 The Commission’s interpretation of § 4206 is also inconsistent with the
26   PCRA’s statutory scheme because Petitioner and the proposed class members
     denied release under § 4206(d) are entitled to and afforded subsequent interim
27   hearings every two years pursuant to 18 U.S.C. § 4208(h)(2). These hearings are
28   superfluous if an ancient rule violation forever bars release on parole.
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1          (b) Scope of disclosure. The scope of disclosure under this section is
2
           limited to reports and other documents to be used by the Commission
3
           in making its determination. At statutory interim hearings conducted
4
5          pursuant to 28 CFR 2.14 the Commission only considers information
6
           concerning significant developments or changes in the prisoner's
7
           status since the initial hearing or a prior interim hearing. 28 CFR
8
9          § 2.55. Therefore, prehearing disclosure for interim hearings will be
10
           limited to such information …
11
     28 C.F.R. § 2.55 (emphasis supplied).
12
13         74.    None of these disclosure rules were complied with in Petitioner’s
14
     case despite requests by Petitioner and his counsel for pre-hearing disclosures.19
15
     At the 2018 hearing, the written and oral statements of relatives and associates
16
17   of the crime victims were again considered even though their statements were
18
     not used in hearings before 2016, and were not provided to Petitioner prior to
19
     the 2018 hearing.
20
21   C.    The Commission violated its regulations and fundamental fairness by
           considering old evidence it knew about but did not use or rely upon
22
           in earlier hearings and decisions.
23
24
     19 The Parole Commission’s September 23, 2016 response to a FOIA request
25   disclosed that prior to the April 2016 hearing the Commission received letters
26   opposing Petitioner’s release, including one from Assistant U.S. Attorney Elliot
     Jacobson the prosecutor in the case, none of which were disclosed to Petitioner
27   or his counsel prior to the April 2016 hearing. As already noted, the
28   Commission’s 2018 denial of parole incorporates its 2016 decision.
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1          75.    In 2016 and 2018 the Commission relied on Petitioner’s old
2
     positive urine test and old telephone rule violations to deny release even though
3
     it had not relied on those rule violations in the 2014 and earlier parole hearings.
4
5          76.    The Commission’s rules state that at subsequent hearings “the
6
     Commission only considers information concerning significant developments or
7
     changes in the prisoner's status since the initial hearing or a prior interim
8
9    hearing.” 28 CFR § 2.55.
10
           77.    In reaching its 2016 and 2018 decisions to deny release, the
11
     Commission relied on a vast set of “facts” (e.g. 2016 statements of the DOJ
12
13   prosecutor, non-serious old telephone call violations, the 28-year old urine test,
14
     etc.) that had not been relied upon by the Commission in the initial or numerous
15
     interim hearings conducted prior to 2016.
16
17   D.    The 27-year old positive drug test does not, as the Commission
           claims, statutorily prevent the Commission from releasing Petitioner
18
           on parole under § 4206(d).
19
20         78.    Petitioner has had one “serious” rule violation during over 30 years

21   of incarceration: A single positive urine test some 27 years before his parole
22
     hearing. That violation, which the BOP no longer treats as serious but the
23
24   Commission does, was the basis for denying parole in 2016 and again in 2018.

25   2016 Notice of Action, Appendix 6, at 3; 2018 Notice of Action Appendix 3, at
26
27
28                                                               Center for Human Rights & Constitutional Law
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1    1.20
2
            79.   The 1990 urine test reportedly showed the presence of morphine, a
3
4    drug not readily available in prisons. Upon being informed of the test, Petitioner

5    requested to be retested and also offered to take a DNA test. These requests
6
     were denied. To the best of Petitioner’s knowledge, in 1990 no retesting was
7
                                                                         21
8    done and there was no way for an inmate to contest a drug test.
9           80.   At a July 17, 2002, parole hearing the Hearing Examiner
10
     considered the 1990 positive drug rule violation and stated “[t]he drug offense
11
12   will call for 0 to 8 months in the administrative offenses.”22 Yet in 2016 and
13
     again in 2018, fourteen and sixteen years after stating the positive drug test
14
     would only adversely impact Petitioner’s record for “0 to 8 months,” the
15
16   Commission denied Petitioner parole relying on the same 1990 drug test. The
17
     Commission has no known rules or policies regarding what inmates must
18
     present to show past rule violations were not serious or should no longer be
19
20
21
     20 Petitioners explained in 2016 and again in 2018 why the old one-time drug
22
     offense should not be considered a disqualifying factor under 18 U.S.C.
23   §4206(d). See, e.g. Appendix 1 at 9.
     21 Petitioner has a FOIA request pending trying to determine whether retesting
24
     was ever required by BOP, and the extent to which ancient positive drug tests
25   are ever used by the Parole Commission to find an inmate ineligible for release.
26   22 This result tracks the Commission’s Parole Rescission Guidelines
     promulgated in C.F.R. §§ 2.20 and 2.36, which characterize a single instance of
27   drug use as an “administrative rule infraction,” the least among offenses listed,
28   punishable by no more than eight months extended denial of presumptive parole.
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1    treated as serious because of the passage of time or other factors. This has
2
     resulted and continues to result in the Commission issuing inconsistent ad hoc
3
     decisions in this case and proposed class members’ cases when weighing the
4
5    seriousness of past rule.
6
           81.    In the case of Bowers v. Drew, Civil Action No. 1:08-CV-2095-
7
     WCO (U.S. District Court Northern District of Georgia), the Commission
8
9    addressed issues involving its application of the term “serious” rule violations as
10
     used in § 4206(d). The Commission “focused on … [1] the gravity of the 1979
11
     escape attempt and [2] whether the passage of time diminished the seriousness
12
13   of the prison rule violation.” Id. Docket # 141, at 42 (emphasis added). See also
14
     id. at 44 (“the Commissioners … are not precluded from reaching the
15
     conclusion that they did in October 2005 [that the attempted escape was a
16
17   serious rule violation], … or they may find that the attempted escape was not so
18
     serious.” (Emphasis added)).23 Had the Commission applied a similar
19
20   reasoning in this case, it would have found that Petitioner’s 28-year old positive

21   urine test for morphine is not a “serious” rule violation that forever precludes
22
     release on parole under § 4206(d) (or under § 4206(a) were that section
23
24   considered). See Petitioner’s April 18, 2018 letter to the Commission, Appendix

25
26   23 The Commission has granted parole to other escapees (including Sara Jane
     Moore and Zvonko Busic) and thus has refrained from characterizing all escapes
27   as serious. Id., Memorandum of Commission General Counsel to Commission
28   (September 22, 2011), Docket 138-7 at 4.
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                   24
1    1, at 9-10.
2
           82.          In his Post-Hearing Assessment on which the Commission
3
4    heavily relies to reach its decision, the Hearing Examiner stated:

5          I do not disagree that our General Counsel has advised the
6
           Commission may revisit the finding [of a “serious” rule violation] at
7
8          subsequent hearings, primarily to consider length of time that has

9          passed since the serious rule infraction was committed. However,
10
           4206(d) is silent to this and, in fact, only states that if the Commission
11
12         finds the subject has committed a serious violation of the rules of the

13         institution, the Commission shall deny mandatory parole. Because of
14
           this absolute language, the Commission is not barred from continuing
15
16         to deny mandatory parole on the basis of seriously violating the rules

17         of the institution, regardless of the length of time that has passed.
18
     Post-Hearing Assessment, Appendix 7, at 11 (emphasis added).
19
20         83.          The BOP does not treat an ancient positive urine test as a “serious”

21   rule violation for purposes of evaluating an inmates salient score factor. See
22
23
24   24 Petitioner cannot identify any case in the Notices of Decision obtained under
     FOIA where an ancient drug test was used to deny an inmate mandatory parole.
25   Several of the approved mandatory paroles in the Notices of Decision come with
26   the condition that parolee attend mandatory drug and alcohol programs,
     indicating these prisoners had at least one (if not several) drug or alcohol-related
27   infractions while in custody that were not deemed “serious” for the purposes of
28   release under § 4206(d).
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1    BOP Program Statement, Inmate Security Designation and Custody
2
     Classification, P5100.08, Chapter 6, p. 9 (indicates a “positive drug test” over 5
3
     years old is not used to determine the inmate’s Custody Classification—
4
5    whereby an inmate is assigned a level of supervision according to their criminal
6
     history and institutional behavior/adjustment—or the inmate’s “Anticipated
7
     Time in Confinement”). The Commission has never explained why it disregards
8
9    BOP’s interpretation of the seriousness of violations of its own rules. The
10
     “intent of the [BOP’s] Custody Classification system is to permit staff to use
11
     professional judgment within specific guidelines.” Id. Chapter 6, p. 2. The
12
13   Commission’s failure to adopt any similar system to permit its Commissioners
14
     and staff to use professional judgment within specific guidelines on critically
15
     important release criteria—including standards about how the Commission
16
17   decides whether rule violations are “serious” or “frequent” so release under §
18
     4206(d) should be denied — is what leads to arbitrary and unreasonable
19
     decision-making in this and similarly situated cases.
20
21   E.    A 5-year old brief phone call to university students urging them to
           support peaceful social change does not disqualify Petitioner for
22
           release nor does it indicate Petitioner is likely to reoffend. The BOP
23         charge should be vacated because BOP destroyed key evidence,
           denied access to an appeal, and the Hearing Officer was not qualified
24
           under BOP’s extant rules.
25
26         84.    In its November 2016 decision, the Commission cited what it

27   called Petitioner’s “most serious incident” involving a February 5, 2013
28                                                             Center for Human Rights & Constitutional Law
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1    telephone call to a group of university students. Notice of Action (November 25,
2
     2016) at 2. The Commission’s 2018 decision incorporates its 2016 decision.
3
           85.    The facts are not in dispute. On February 5, 2013, Petitioner, at the
4
5    invitation of professor Karin Stanford, placed a phone call to Professor Stanford
6
     who placed the call on her speaker phone and invited Petitioner to say a few
7
     words to a group of students and professors gathered to hear actor/producer
8
9    Danny Glover speak and screen one of his films. Professor Stanford was on
10
     Petitioner’s approved phone call list and had visited him before this phone call.
11
           86.    The sworn declaration of Professor Stanford that is part of the
12
13   Commission’s record provides insight into Petitioner’s core beliefs and the
14
     arbitrariness of the Commission’s reliance on the phone call to find Petitioner is
15
     likely to reoffend if released on parole:
16
17         On February 5, 2013 … CSUN’s Department of Pan African Studies
18
           … co-sponsored a symposium … with … Danny Glover (actor and
19
           producer) who was screening his new Oscar-nominated documentary
20
21         … During a [previous] phone call with Mutulu Shakur … I invited
22
           him to call-in to my cell-phone during the event to participate briefly
23
           in the discussion. During the symposium Mutulu Shakur called …
24
25         and I placed him on my phone speaker. He very briefly spoke about
26
           his ideas for the Truth and Reconciliation Commission, historical
27
           aspects of the civil rights movement, … the need to remember the
28                                                             Center for Human Rights & Constitutional Law
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1          sacrifices of civil rights workers who were killed in the woods of
2
           America, … how the people have chosen the electoral process and
3
           elected President Obama as a means to get economic, medical and
4
5          political relief, and again he returned to the peaceful process for
6
           addressing healing he has long supported as a tool to resolve conflict
7
           … Mr. Shakur’s contribution to the event was positive and he was a
8
9          voice for healing and reconciliation, which I am very glad students
10
           had the opportunity to hear. At no time did Mr. Shakur say anything
11
           that was an incitement to violence or criminality. On the opposite, his
12
13         message was one of working within the system to achieve healing and
14
           reconciliation …
15
     Declaration of Dr. Karen Stanford (April 3, 2016) (emphasis added).
16
17         87.    The following day, February 6, 2013, BOP Officer G. Odell
18
     monitored the previously recorded call and submitted an incident report,
19
     charging Shakur with violation of 28 C.F.R § 541.3 (212), engaging in a “group
20
21   demonstration,” and 28 C.F.R § 541.3 (297), using the telephone to circumvent
22                                                                                           25
     the ability of staff to monitor the content of the call or the number called. In
23
24   fact, the number called and content of the call were fully monitored.

25         88.    On February 11, 2013 Petitioner received a Notice of Discipline
26
27   25 The only incidents of which Petitioner is aware involving violations of
28   § 541.3 involve inmates using codes in their conversations to avoid monitoring.
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1    Hearing before a Disciplinary Hearing Officer (“DHO”) for the alleged
2
     violations of “use of the telephone for abuses other than criminal (§ 212) and
3
     engaging in or encouraging group demo (§ 297)”. Notice of Discipline Hearing
4
5    Before the DHO (February 11, 2013) at 1. The allegation of engaging in a
6
     “group demonstration” was soon dropped when BOP realized the call was to a
7
8    group of students at a university meeting. 26

9          89.    Despite Petitioner’s request that the recording of his phone call be
10
     preserved for review by his BOP staff representative and the Disciplinary
11
12   Hearing Officer, his request was denied. The recording was erased before his

13   disciplinary hearing was conducted.27
14
           90.    On March 13, 2013 a DHO Hearing was held, presided over by
15
16   DHO Officer Diana Elliott.
17         91.    After being found guilty of violation a telephone rule, hearing
18
     Petitioner was booked into administrative segregation (solitary confinement).
19
20
21
     26 Petitioner requested to have a staff representative, Rec Spec Weeks, and two
22
     witnesses, Sia Castillo, who could testify as a “phone monitoring expert”, and
23   Rec Spec Weeks, who could testify to Petitioner’s role “on the compound in
24   keeping the peace.”
     27 Spoliation is the destruction or significant alteration of evidence, or the
25   failure to preserve property for another's use as evidence in pending or
26   reasonably foreseeable litigation. In this case (1) the missing evidence existed at
     one time; (2) BOP had a duty to preserve the evidence; and (3) the evidence was
27   important to Petitioner 's being able to prove his innocence of the alleged phone
28   rule violation.
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1    He was not served with a copy of the DHO decision. 28 While in solitary
2
     confinement, Petitioner wrote to Director of the Bureau of Prisons, Charles J.
3
4    Samuels, to request an extension to file an appeal from the DHO’s decision.

5    Upon release from solitary confinement, Petitioner submitted a regional
6
     administrative appeal on June 13, 2013, citing due process violations, freedom
7
8    of speech, and objecting to the incident report for “failing to specify or identify

9    any act of misconduct.” Even though he had not been served with the DHO’s
10
     decision, tolling the period to appeal, and had been held in solitary confinement,
11
12   the appeal was rejected as untimely.29
13         92.    On April 20, 2016, the phone violation was used as a key basis to
14
     deny Petitioner mandatory parole. In 2018 the Commission denied parole
15
16
17
18   28 Pursuant to 28 C.F.R. § 542.14(d)(2), “DHO appeals shall be submitted
19   initially to the Regional Director for the region where the inmate is currently
20   located.” 28 C.F.R. § 542.14(d)(2). The submission period for DHO Appeals is
     “20 calendar days of the date the Warden signed the response” and “Appeals to
21   the Regional Director shall be … accompanied by one complete copy or
22   duplicate original of the institution Request and response.” BOP Policy §
     542.15(a) and (b).
23   29 Petitioner next submitted a central office administrative appeal dated August
24   19, 2013. Central Office Administrative Remedy Appeal, dated August 19,
     2013, pg. 1. Petitioner attached a signed Form A0148 (request to Staff) from his
25   counselor, Counselor Prieto, verifying that the DHO report had not been
26   provided to the Unit Team and/or inmate as of on July 28, 2013. On April 10,
     2018 the BOP’s Regional Director denied Plaintiff’s administrative appeal
27   indicating that after an investigation Plaintiff’s allegations were without merit
28   and Plaintiff would not be receiving relief from his disciplinary action.
     PETITION FOR A WRIT OF HABEASU CORPUS                       Center for Human Rights & Constitutional Law
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1    incorporating its reasons for denying parole in 2016.30
2
           93.    Petitioner seeks an Order vacating the rule violation because (1) the
3
4    phone call did not violate any known rule issued by the BOP, (2) the key

5    evidence (recording of the telephone call) was destroyed prior to the disciplinary
6
     hearing despite Petitioner requesting that the evidence be preserved, and (3) the
7
8    BOP circumvented Petitioner’s ability to administratively appeal the rule

9    violation by running the clock on his time to appeal while he could not submit
10
     his appeal to anyone.
11
12   F.    The Commission has failed to adopt or apply any known standards
           on the meaning of “frequent” rule violations. A handful of old
13         telephone rule violations over 30 years do not show Petitioner
14         “frequently” violated prison rules or is likely to reoffend if released
           on parole.
15
16         94.    Section 4206(d) provides that a prisoner shall not be granted
17   mandatory release if he has “frequently violated institution rules.” On the other
18
     hand, a prisoner may be granted discretionary release under § 4206(a) even if he
19
20
21   30 On July 10, 2017 Petitioner resumed his efforts to have the 2013 rule
22   violation set aside. He submitted a new request for informal resolution of the
     rule violation. On August 3, 2017 Petitioner submitted a request for
23   administrative remedy to the Warden. On September 25, 2017, Petitioner
24   submitted a regional administrative appeal. On October 31, 2017 Petitioner
     submitted a central office appeal. On January 11, 2018 Petitioner submitted a
25   regional administrative appeal. Despite these efforts, the BOP has not set aside
26   Petitioner’s 2013 telephone rule violation that the Parole Commission found
     was his “most serious” violation warranting denial of parole in 2016, a decision
27   the Commission incorporated into its 2018 decision.
28                                                             Center for Human Rights & Constitutional Law
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1    has frequently violated institution rules depending on the seriousness and age of
2
     those violations.
3
           95.     The Notice of Action dated November 25, 2016 (incorporated into
4
5    the Commission’s 2018 denial of parole) concludes that four alleged non-serious
6
     telephone rule infractions in about twenty-eight (28) years, show that Petitioner
7
     has “frequently” violated institution rules and therefore is statutorily ineligible
8
9    for release under § 4206(d), and these four telephone rule violations also
10                                           31
     indicate he will reoffend if released.
11
12         96.    “Frequent” means “occurring often or in close succession; habitual;

13   constant.” The Oxford Desk Dictionary at 321. Four or five phone violations
14
     over a period of thirty (30) years by any rational interpretation does not involve
15
16   “frequently” violating prison rules. This amounts on average to a minor rule

17   violation once every seven years in custody. Congress would not have called §
18
     4206(d) a “more liberal” approach to release on parole if four phone calls that
19
20   would not block release under the normal standard of § 4206(a), permanently

21   block release under § 4206(d).
22
           97.     The Commission has failed to issue standards or rules consistently
23
24   applied to Petitioner and proposed class members regarding how it interprets

25
26
     31 The two 2007 telephone infractions involved attempted “outreach to the
27   public” without authorization because the phone call involved an anti-violence
28   music CD project.
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1    the term “frequently.” Petitioner and proposed class members have no idea
2
     what standards the Commission follows when deciding that an inmate has
3
     “frequently” violated prison rules such that they are, in the Commission’s view,
4
5    forever ineligible for release on parole under § 4206(d).
6
           98.    As explained at the 2016 and 2018 hearings, in each instance the
7
     phone calls at issue involved Petitioner encouraging non-violence, anti-gang
8
9    messaging, healing and reconciliation. The few 2001 and 2007 telephone calls
10
     involved a music project that included an anti-gang/anti-violence message.
11
           99.    None of the phone calls were deemed “serious” rule violations by
12
13   BOP.32
14
           100. The Commission also unreasonably and without explanation
15
16   concluded that these 4 non-“serious” rule violations establish that Petitioner is

17   likely to commit new crimes if released on parole. As the record shows,
18
     Petitioner has for many years been a voice advocating for non-violence and
19
20   peaceful social change. Detailed information regarding his well-known ideas in

21   this regard were presented and referenced at Petitioner’s 2014, 2016 and 2018
22
     parole hearings. The Commission’s failure to adopt a consistent rule on what it
23
24
     32 The BOP defines a “serious” telephone rule violation when an “inmate …
25   utilizes the telephone to further criminal activities or promote illicit
26   organizations….” BOP Program Statement, Inmate Security Designation and
     Custody Classification, P5100.08, Chapter 5, page 10. These include, for
27   example, utilizing the telephone “to communicate threats of bodily injury, death,
28   assaults, or homicides,” or to arrange “narcotic/alcohol” deals. Id. at 11.
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1    means to “frequently” violate prison rules frustrates what Congress sought to
2
     achieve: “[T]o assure … imprisoned inmates that parole decisions are openly
3
     reached by a fair and reasonable process after due consideration has been given
4
5    [all] salient information.” Conference Report, Cong Rec Feb 23, 1976, page
6
     H1222.
7
           101.   In its summary of the final rules published in 1978, the
8
9    Commission stated: “the Commission will consider the facts underlying each
10
     case to determine the severity of the institutional misconduct and will base its
11
     parole decision on that independent assessment.” 43 FR 38822 (October 1,
12
13   1978).
14
           102. In its 2018 decision, the National Appeals Board (aka the
15
     Commission) erroneously stated:
16
17         The Board notes that the Commission [one and the same three people]
18
           made no such finding previously that your infractions were ‘frequent.’
19
           Instead, the Commission found that you seriously violated the rules of
20
21         the institution and such a finding was reasonable. As you are aware,
22
           your positive drug test is a "l00" level infraction (most serious level in
23
           the BOP). This fact and the nature and circumstances of your other
24
25         infractions, were reviewed and formed the basis of the opinion that
26
           you have seriously violated the rules of the institution.
27
28                                                              Center for Human Rights & Constitutional Law
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1    Notice of Action on Appeal (July 25, 2018), Appendix 5, at 3 (emphasis
2
     supplied). The only “other infractions” are the non-serious telephone rule
3
     violations the Commission relies on to deny parole.
4
5          103. In this case the Hearing Examiner and the Notice of Action fail to
6
     consider “the severity of the institutional misconduct” and instead rely upon
7
     infrequent and BOP-defined minor telephone rule violations to trump an
8
9    otherwise exemplary history of conduct in order to reach a predetermined
10
     outcome. The Commission also relies on old telephone rule violations not
11
     considered at earlier parole hearings in violation of the Commission’s own rules
12
13   and fundamental fairness.33
14
     G.    The Commission unreasonably concluded Petitioner is likely to
15         reoffend if released on parole because he sometimes in the past
16         referred to himself as a “victim” of the FBI’s illegal COINTELPRO
           program
17
18         104.   In 2016 Petitioner was denied release on parole in part because he

19   has referred to himself as a “victim of the government’s counter-intelligence
20
     program” and this, according to the Parole Commission, indicates he is not
21
22   rehabilitated and is likely to commit crimes if released. 2016 Notice of Action

23
24
25
26
     33 The Commission’s rules state that it will “only considers information
27   concerning significant developments or changes in the prisoner's status since the
28   initial hearing or a prior interim hearing.” 28 CFR § 2.55.
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1    at 1.34 As noted above, the Commission incorporates its 2016 findings into its
2
     2018 decision again denying parole.
3
           105. Despite being in the record, and being brought to the
4
5    Commission’s attention in 2016 and again in Petitioner’s pre-hearing
6
     submission in 2018 (Appendix 1), the Commission ignored the fact that Trial
7
     Judge Haight, Jr. stated in this case that documents obtained under the FOIA
8
9    “demonstrate that for a considerable time Shakur …[has] been the subject of
10
     illegal surveillance, harassment, and disinformation by the FBI as part of that
11
     lamented, unconstitutional project known as COINTELPRO.” United States v.
12
                                                              35
13   Shakur, 1988 U.S. Dist. LEXIS 2762, pp. 16-17 (1988). A federal judge has
14
     recognized that Petitioner was a victim of the COINTELPRO program, but the
15
16   Commission, ignoring the record, denied parole because Petitioner “considers”

17   himself to be a victim of the COINTELPRO program.
18
19
20
21
     34 “Additionally, you take no responsibility for the crimes for which you were
22
     convicted [because] [i]nformation on your website, including your writings and
23   in a recent letter you wrote to your supporters in 2014, indicates you routinely
24   refer to yourself as a … ‘victim’ of the government’s counter-intelligence
     program.” Id..
25   35 In no prior Notice of Action has the Commission ever argued that a reason to
26   deny parole is because Petitioner has stated he was a “victim” of COINTELPRO
     before he was convicted. Raising this now, for the first time in twenty years,
27   shows the arbitrariness of the Commission’s action in this case and violates the
28   Commission’s rules at 28 CFR § 2.55.
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1          106. In addition, despite its rule at 28 CFR § 2.55 stating that at
2
     subsequent hearings “the Commission only considers information concerning
3
     significant developments or changes in the prisoner's status since … a prior
4
5    interim hearing,” the Commission denied parole in 2016 and seemingly again in
6
     2018 because Petitioner in the past sometimes referred to himself as a victim of
7
     the COINTELPRO program even though the Commission had not in previous
8
9    hearings relied on this reason to deny parole.
10
           107.     Petitioners’ claim that he was a victim of COINTELPRO is an
11
     accurate and truthful statement and does not show in any way that he is likely to
12
13   reoffend if released on parole.
14
     H.    The Commission unreasonably concluded Petitioner is likely to
15         reoffend if released on parole because he has sometimes referred
           to himself as a “political” prisoner.
16
17         108.     The Commission also denied parole because Petitioner has
18
     occasionally referred to himself as a “political prisoner.” Notice of Action
19
     (April 2016) at 1 (“Information on your website, including your writings and in
20
21   a recent letter you wrote to your supporters in 2014, indicates you routinely
22
     refer to yourself as a … political prisoner …”); see also Notice of Action
23
     (November 2016) at 2 (“Specifically, you refer to yourself as … a ‘political
24
25   prisoner’”).
26
           109. Petitioner’s April 18, 2018 pre-hearing submission to the
27
     Commission reiterated his oft-repeated position in 2016: “… Mr. Shakur has
28                                                             Center for Human Rights & Constitutional Law
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1    respected every stage of the criminal justice process throughout 30 years of
2
     litigation and incarceration. He has never argued that his conviction is
3
     “political” in nature or that his conviction was politically motivated. He has
4
5    fully accepted his conviction.” Appendix 1, at 11 (emphasis added).
6
           110. During the trial, U.S. District Judge Charles S. Haight, Jr.
7
     repeatedly acknowledged the political nature of Petitioner’s history,
8
9    circumstance, motivation, and intentions related to his conviction. The District
10
     Court described Shakur’s trial defense as follows:
11
           Shakur's defense had at its core the proposition that while his political
12
13         goals were to further the fortunes of African-Americans, his means
14
           were peaceful and law-abiding, rather than violent and criminal.
15
           While Shakur did not testify in his defense, he called 26 witnesses, the
16
17         majority of whom testified about Shakur's public, political, and non-
18
           violent activities, extending over a number of years, and the concerns
19
           about governmental persecution that Shakur harbored as a result.
20
21   Shakur v. United States, 32 F. Supp. 2d 651, 665 (SDNY Jan. 13, 1999)
22
     (emphasis supplied).
23
           111. Petitioner’s “political” goals and activities were understood and
24
25   accepted by trial judge Haight, Jr., even if they did nothing to mitigate
26
     Petitioner’s guilt. Petitioner, other prisoners, BOP staff, and others outside of
27
     prison have all at times referred to Petitioner as a “political” prisoner because
28                                                               Center for Human Rights & Constitutional Law
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1    the activities in which he engaged leading up to his conviction were motivated
2
     by political beliefs, and because inmates who serve as mediators and act to
3
4    diffuse interracial inmate gang hostilities are known as political prisoners.36

5          112. The BOP and the Commission were aware that for over twenty
6
     years Petitioner occasionally referred to himself as a political prisoner, yet the
7
8    Commission never previously relied on that information to deny him parole.

9    This indicates the Commission’s reliance on this phrase to deny parole is
10
     pretextual.
11
12         113. In its 2018 denial of parole, the National Appeals Board [aka the

13   Commission] stated: “Though you posit that your use of the term ‘political
14
     prisoner’ has varying meaning, it is reasonable for the Board to adopt the one
15
16   that would suggest a failure to fully accept responsibility.” Notice of Action on

17   Appeal (July 25, 2018), Appendix 5, at 3-4. In the “mandatory” release
18
     provision Congress enacted in § 4206(d), it did not include as a criteria an
19
20   inmate “fully accept responsibility.” The Commission adopts a criteria not

21
22
     36 Petitioner explained in his pre-hearing submission that “[t]he day to day
23   functions of mediation, conciliation, conflict resolution inside the prison
24   structure are referred to as ‘politics’ and those who engage to have impact on
     their environment are considered ‘political prisoners’ (rather than ‘shot callers’
25   ‘MOB Boss’ etc.).” Appendix 4, at 8. “Mr. Shakur is viewed by many as a
26   ‘political prisoner’ because of his character, values and moral acts employed
     during his 30 years of incarceration … [H]is continued efforts to encourage
27   alternative health care, an equitable criminal justice system, anti-gang violence
28   and a TRC [Truth and Reconciliation] process for healing …” Id.
     PETITION FOR A WRIT OF HABEASU CORPUS                       Center for Human Rights & Constitutional Law
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1    included by Congress in the statute, and then, despite Petitioner having stated
2
     for many years that he accepts responsibility for the crimes, concludes that his
3
     rare use of the term “political prisoner” somehow evidences that he has not
4
5    accepted full responsibility for his crimes, and that, in turn, despite
6
     overwhelming and concrete evidence to the contrary including from BOP,
7
     shows that he is likely to reoffend if released on parole. Appendix 5. The
8
9    Commission’s conclusion possesses no rational or factual basis. As noted
10
     above, it is also a violation of the Commission’s rules.37
11
12   I.     The Commission unreasonably concluded Petitioner is likely to
            reoffend if released on parole because he has occasionally ended
13          letters with the salutation “stiff resistance”.
14
            114. Petitioner was denied parole in 2016 because on two known
15
16   occasions he ended letters or communications with the salutation “stiff
17   resistance.” Notice of Action (April 2016) at 1. In its 2018 denial of parole, the
18
     Commission adopted its 2016 decision.
19
20          115.   As Petitioner explained in 2016:
21          My salutation “stiff resistance” purpose has been to serve as a
22
            reminder and to fortify an individual's character and resolve in the
23
24          face of their specific challenges. The objective of “stiff resistance” is
25
26   37 In no prior Notice of Action has the Commission ever argued that a reason to
     deny parole was because Petitioner had sometimes referred to himself as a
27   “political prisoner.” Raising this now, for the first time in twenty years, is
28   fundamentally unfair and violates the Commission’s rules at 28 CFR § 2.55.
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1          now and has always been about the quality of life. I have never
2
           intended its use to encourage criminality or terrorism, to target the
3
           government.
4
5    Mutulu Shakur Statement submitted to the Commission (May 19, 2016).
6
           116.    As Petitioner explained to the Commission in his 2018 pre-
7
     hearing submission, many groups with entirely lawful goals use the age-
8
9    old term “resistance.” The “Culture of Resistance Network” aims to
10
     promote and support organizations, activists, and artists who seek a more
11
     peaceful, just, and democratic world. “Critical Resistance” through its
12
13   outreach works toward creating “lasting alternatives to punishment and
14
     imprisonment.” The goal of “Bay Resistance” is to advance racial,
15
     economic, climate, and gender justice. In May 2017 the media reported
16
17   Hillary Clinton was establishing a “Resistance” Political Action
18
     Committee. Appendix 1 at 12. See also 2018 Petition for Reconsideration,
19
     Appendix 4, at 5 (Petitioner explains words stiff resistance used “to
20
21   encourage personal fortitude; … and to stand firm against daily challenges
22
     and difficulties.”)
23
           117.    Petitioner advised the Commission in writing in 2016 and
24
25   again in 2018 that because of its misinterpretation of the salutation “Stiff
26
     Resistance” (used twice by the Petitioner in correspondence years ago),
27
     and to avoid anyone else misinterpreting this salutation, Petitioner had
28                                                              Center for Human Rights & Constitutional Law
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1    stopped using it. Despite the irrationality of using this salutation as a basis
2
     to deny parole even in 2016, the Commission uses it again in 2018 even
3
     though it knows Petitioner stopped using that salutation two years
4
5    earlier.38
6
            118. Congress could not possibly have intended that in denying
7
8    parole the Commission would ignore an inmate’s substantive message of

9    peace and conciliation for several decades and focus instead on a
10
     salutation at the close of two letters to keep a rehabilitated inmate in prison
11
12   likely until he dies.

13          119.   Despite its rule at 28 CFR § 2.55 stating that at subsequent
14
     hearings “the Commission only considers information concerning significant
15
16   developments or changes in the prisoner's status since … a prior interim

17   hearing,” the Commission denied parole in 2016 and 2018 because Petitioner
18
     on two occasions ended letters or communications with the salutation “stiff
19
20
21
22   38 Despite Petitioner having advised the Commission in 2016 in his Petition for
     Reconsideration, and again in 2018 in his pre-hearing submission, and again at
23   his 2018 hearing, that he had stopped using “Stiff Resistance” as a salutation in
24   mid-2016, the National Appeals Board (aka the Commission) denied
     Petitioner’s 2018 Petition for Reconsideration because: “The Board finds it
25   reasonable for the Commission to consider these past statements to be
26   incompatible with the goals and conditions of supervision as well as evidence
     that you have not truly disavowed yourself from the set of beliefs you had
27   when you were convicted for your role as a leader in the racketeering
28   conspiracy.” Notice of Action on Appeal (July 25, 2018), Appendix 5, at 3.
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1    resistance,” even though the Commission had never previously relied on this
2
     reason to deny parole.
3
     J.    The Commission unreasonable found that Petitioner has not accepted
4
           responsibility for the crimes
5
6          120. According to the Hearing Examiner’s Post Hearing Assessment,

7    when asked if he “admitted to his offense conduct, the subject stated that he
8
     admits and accepts responsibility.” Post-Hearing Assessment (May 11, 2018)
9
10   attached as Appendix 7, at 1. Petitioner also “stated he is remorseful.” Id. at 4.39
11         121. In his statement at the hearing, Petitioner said: “I understand that no
12
     one else is to blame for my participation in these crimes – I am responsible for
13
14   my choices. I understand that I alone must accept responsibility for my crimes
15
     … I feel deep … remorse for my crimes.” Appendix 2, at 1-2.40
16
           122. In identical words the Hearing Examiner’s 2018 post-hearing
17
18   assessment, and the Commission’s 2018 denial of parole, state:
19
20
21
22
     39 “He acknowledged the pain of the victims, stating, ‘they have no room to
23   forgive,’ and ‘forgiveness is not in their paradigm.’ He says he accepts that. He
24   says, ‘death and loss is a powerful experience and the residual effect through
     generations is real.’ He said he understands their hate, but says it hurts him to
25   know he is responsible.” Id. at 4.
26   40 See page 6 supra for a fuller quote of Petitioner’s statements regarding
     acceptance of responsibility. At the May 2016 hearing in response to questioning
27   by the Hearing Examiner, Petitioner stated without equivocation: “I am guilty of
28   the crimes I have been convicted of. All of them.”
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     28 U.S.C. § 2241                                                                         213/388-8693
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1          The Commission has considered your statement at this hearing in which
2
           you now, for the first time ever, admit culpability for your offenses of
3
           conviction and accept responsibility for your actions. The Commission
4
5          has considered whether this is new information that warrants a change in
6
           its previous decision but has determined you lack credibility in making
7
           such a statement. The Commission finds the timing of your new statement
8
9          suspect and further finds it to be self-serving and disingenuous.
10
     Post-Hearing Assessment, Appendix 7, at 10; 2018 Notice of Action, Appendix
11
     3, at 1 (emphasis added). See also Notice of Action on Appeal (July 25, 2018),
12
13   Appendix 6, at 1 (“at your May 2018, hearing … you, for the first time, admitted
14
     your involvement in the offense conduct”).
15
           123. This was not “the first time ever” that Petitioner accepted
16
17   responsibility for the underlying crimes. Over the last three decades Mr. Shakur
18
     has increasingly demonstrated acceptance of responsibility. Petitioner has for
19
     many years accepted responsibility and expressed remorse for the crimes at his
20
21   parole hearings and on his web site.
22
           124. For example, in his 2016 hearing, when asked by the Hearing
23
     Examiner whether he was part of the conspiracy in the crimes of which he was
24
25   convicted, Petitioner responded “I was involved in that conspiracy and I don’t
26
27
28                                                             Center for Human Rights & Constitutional Law
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1    deny that.”41 The Hearing Examiner in 2016 said to the Petitioner: “You’re
2
     convicted in a conspiracy. In a conspiracy you don’t have to be the shooter to be
3
     guilty, you are still responsible for the crime. You would be in a position in
4
5    terms of overall responsibility for the crime. You understand that?” Petitioner
6
     responded: “I truly understand that. I’ve had to live with that for 30 years and I
7
     have changed.” The Commission’s rejection of Petitioner’s acceptance of
8
9    responsibility based on the erroneous observation that 2018 was the “the first
10
     time” he “ever” accepted responsibility was clearly erroneous.
11
           125. In § 4206(d) Congress did not mention “acceptance of
12
13   responsibility” as a factor to be considered. However, the Commission may
14
     consider acceptance of responsibility as it may relate to the likelihood to
15
     reoffend, a factor to be considered under § 4206(d). However, in this case the
16
17   record shows that (1) Petitioner has accepted responsibility for his crimes for
18
     many years, (2) there is no basis for the Commission to conclude that
19
     Petitioner’s acceptance of responsibility is “suspect” and “disingenuous,” (2018
20
21   Notice of Action at 1), and (3) the overwhelming and uncontradicted evidence of
22
     record (including the uncontradicted statements of BOP staff and high officials)
23
     shows Petitioner is fully rehabilitated and based on his 30 year incarceration
24
25
26
     41 In his 2016 hearing Petitioner also stated “I’m glad that the victims’ families
27   are here because there is a need for me to represent to [them] …[my] sympathy
28   and remorse for their families and their loss.”
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1    record, it is extremely unlikely Petitioner will ever reoffend regardless of the
2
     alleged “recency” of his acceptance of responsibility in Commission hearings. In
3
     this case overwhelming and uncontroverted evidence showing Petitioner will not
4
5    reoffend if paroled was outweighed by the Commission’s unsupported
6
     conclusion that Petitioner’s acceptance of responsibility was “suspect” because
7
     of its alleged recency.
8
9    K.    The Commission erroneously and unreasonably concluded there was
           no new evidence or change in circumstances between Petitioner’s
10
           2016 and 2018 parole hearings to warrant release on parole.
11
12         126. Petitioner’s April 18, 2018 prehearing submission to the

13   Commission provided significant new evidence that warrant Petitioner’s release
14
     on parole. The submission included, for example, a letter executed by Associate
15
16   Warden S. Keilman recommending parole of Petitioner:

17         In review of Shakur's institutional record it is apparent that his age and
18
           lack of violence (or other disciplinary issues) indicate a desire towards
19
20         his rehabilitation. I am aware of the controversy related to a previous

21         telephone incident [a single 2014 call to university students urging
22
           constructive political engagement] used as a basis for his 2016 parole
23
24         denial and it is my professional opinion conduct related to his 2013

25         Code 297 phone incident report does not reflect a lack of rehabilitation
26
           or a disrespect for institutional policies and authority.
27
28         … I offer this letter as a recommendation for the parole of Inmate
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1          Shakur based on my observations and interactions with him. My years
2
           of experience with the Bureau has made me quite astute to the judgment
3
           of men and their character. I sincerely believe if given the opportunity,
4
5          Mr. Shakur will not re-offend and will abide by the law and be an asset
6
           to the overall environment and community.
7
     Letter from Associate Warden Keilman (April 9, 2018), Appendix 1,
8
9    Exhibit 1 (emphasis added).42
10
           127. Additional new evidence addressed a realistic reentry plan
11
     for Petitioner including firm offers of employment. The Center for Human
12
13   Rights and Constitutional Law wrote that “because of his interest and
14
     long-time advocacy for peaceful resolution of disputes and racial and
15
     economic justice, the Center for Human Rights and Constitutional Law
16
17   would be pleased to have Mr. Shakur work with the organization half-
18
     time.” Appendix 1 at 3.43
19
20
21
22
     42 In addition, BOP staff testified at the May 2016 hearing that over the
23   previous two years Petitioner presented no management problems, no
24   disciplinary problems, had positive rapport with and was respectful of BOP
     staff, and that his work as an prison orderly was good.
25   43 The Center for Human Rights job offer letter further stated: “We have
26   dedicated hundreds of hours researching the achievements of truth and
     reconciliation efforts around the world and look forward to Mr. Shakur’s
27   positive involvement in our work. We are fully prepared to compensate Mr.
28   Shakur with a half-time salary of $15,000 per year.” Id.
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1         128.    The Asian American Drug Abuse Program wrote an offer
2
     employment letter which states in part: “[Petitioner’s] skills and
3
     experience with community organizing and his ability to connect with
4
5    young African American high-risk youth would also be an important asset
6
     in the work we do. It is for this reason that we would like to employ him
7
     in our Outreach Services Program … This position will be based at our
8
9    Center on Crenshaw Boulevard, which is easily accessible from the
10
     residence of his son where he would be living. He may work in this
11
     position full or half time …” Appendix 1 at 4.
12
13         129. Petitioner’s daughter, Sekyiaw Shakur, provided new evidence as
14
     follows:
15
           Tupac Shakur was my brother and my father’s stepson. In my work
16
17         for the Tupac Amaru Shakur Foundation, I focus on community
18
           engagement and speak to abused women and children on overcoming
19
           adversity. Since his incarceration, my father has expressed his
20
21         remorse for his past crimes. My father has taught me (and he taught
22
           Tupac) that positive social change comes about not through crimes or
23
           violence, but by promoting peace and healing … [My father] has
24
25         become known to many throughout the country not as Mutulu Shakur
26
           the man involved in violent bank robberies to further political causes,
27
           but as Mutulu Shakur, the man who speaks out against gang violence,
28                                                              Center for Human Rights & Constitutional Law
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1          against inmate-on-inmate violence, … and in support of empathy,
2
           understanding and healing. That’s who my dad is now.
3
     Appendix 1 at 4-5.
4
5          130. New evidence was offered in the form of a letter by Reverend
6
     Anthony Evans, President of the National Black Church Initiative, along with
7
     70 other faith based leaders, who wrote in part:
8
9          … [Petitioner] has consistently promoted and supported the peaceful
10
           resolution of social conflicts. Use of the salutation “stiff resistance” [a
11
           factor considered by the Commission in 2016] in no way invokes the
12
13         notion that Dr. Shakur was encouraging others to engage in lawless
14
           behavior. To dissuade the Commission from this misunderstanding, …
15
           Dr. Shakur has even stopped using the salutation “stiff resistance.” …
16
17         There are many examples of individuals engaging in “stiff resistance”
18
           to personal failure, bad habits, selfishness or even the temptation of
19
           crime.
20
21   Appendix 1 at 5 (emphasis added).
22
           131. Despite the submission of this array of new evidence, including a
23
     letter from a top BOP official and testimony by BOP staff all making clear that
24
25   Petitioner’s positive institutional conduct made it extremely unlikely he will
26
     reoffend if released on parole, the Commission denied parole concluding that
27
     “the Commission finds that there have been no significant developments or
28                                                               Center for Human Rights & Constitutional Law
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1    changes in your case as to warrant a change in the previous decision to deny
2
     mandatory parole and continue [your incarceration] to expiration [of your 60
3
     year sentence].” May 2018 Notice of Action, Appendix 3, at 1. See also July
4
5    2018 Notice of Action, Appendix 5, at 1 (same). The finding that the evidence
6
     presented disclosed “no significant developments or changes” in Petitioner’s
7
     case was arbitrary and unreasonable.
8
9    L.    The Commission’s consideration of and retaliation against
           Petitioner’s non-violent, protected political speech violates the First
10
           Amendment.
11
           132.    By denying Shakur parole on the basis of his use of the phrases
12
13   “stiff resistance” and “political prisoner” and his criticism of the FBI’s illegal
14
     COINTELPRO, the Commission not only considered evidence irrelevant to
15
     Petitioner’s release pursuant to § 4206(a) or (d), it unconstitutionally retaliated
16
17   against Petitioner’s protected speech.
18
           133.    Congress intended that mandatory parole apply to all prisoners
19
     eligible under § 4206(d) “except those offenders who have the greatest
20
21   probability of committing violent offenses following their release so that parole
22
     supervision is part of their transition from the institutional life of imprisonment
23
     to living in the community.” Joint Explanatory Statement, H.R.Rep.No.5727,
24
25   80th Cong., 1st Sess. reprinted in [1976] U.S.Code Cong. and Admin.News, pp.
26
     335, 360 (emphasis added).
27
28                                                               Center for Human Rights & Constitutional Law
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1          134.    The Commission’s conclusion that Petitioner’s non-violent
2
     protected speech is a basis for denying him parole under § 4206(d) is arbitrary,
3
     capricious and a violation of the limited First Amendment rights prisoners
4
5    possess.
6
     M.    The Commission considered and included irrelevant testimony from
7          AUSA Jacobson and retired FBI Agent Mitchell on Petitioner’s post-
           conviction conduct during his over 30 years of federal custody and on
8
           Petitioner’s likelihood to commit violent offenses upon release.
9
           135.    Permitting the lengthy and one-sided testimonies of Assistant
10
11   United States Attorney Elliott Jacobson and retired FBI Agent David Mitchell, at
12
     the 2016 hearing, and AUSA Jacobson’s statements in the 2018, violated §
13
     4206(d) and due process inasmuch as Petitioner had no prior knowledge that
14
15   these written statements and oral testimonies would be considered by the
16
     Commission, their statements went far afield of the conduct charged in
17
     Petitioner’s case, and they were not in a position to authoritatively comment on
18
19   Petitioner’s current level of remorse or rehabilitation, or his prison rules
20                                                              44
     violations that may reflect on his likelihood to reoffend. Petitioner and his
21
22
     44 See, e.g. Jacobson letter to USPC dated March 14, 2016, at 4-5 (“Although
23   Shakur has spent the last thirty years in prison, he shows no signs of being
24   rehabilitated. To our knowledge Shakur has: never admitted his guilt; never
     expressed one iota of remorse for the many victims of his murderous and
25   prolonged crime spree; and never once rejected the violent tactics and ideology
26   that resulted in his arrest and conviction.”); Id. at 5 (“Nor is there anything in his
     … post-trial conduct that indicates he is inclined to do anything other than to
27   pick up where he left off when he was arrested in 1986. … There is every reason
28   to believe that notwithstanding the many years he spent behind bars and his age,
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1    representative were not informed of the written statements submitted by
2
     Jacobson and Mitchell or their intent to provide oral testimony until the dates of
3
     the hearings on April 7, 2016, and May 3, 2018.
4
5          136. The Hearing Examiner’s Post Hearing Assessment states in part:
6
     “Victim(s) provided written or telephonic communication prior to the hearing.”
7
     Appendix 7 at 4. These statements were not provided to Petitioner prior to the
8
9    hearing as required by the Commission’s regulations.
10
           137. Allowing testimony and written statements from law enforcement
11
     officials about the post-conviction conduct of the Petitioner almost thirty years
12
13   after these officials were involved in the case was unfair and indicates an
14
     inappropriate delegation of discretionary authority.45
15
16
17
18   Shakur presents a serious danger to the law abiding community if he is released
     on parole.”); Mitchell letter to USPC dated March 24, 2016, at 4 (“Mutulu
19   Shakur … continues to profess … that he is a ‘political prisoner,’ wrongfully
20   targeted by the FBI. The evidence presented at trial and statements by his co-
     conspirators directly and convincingly contradict this absurd position.” This
21   “absurd” position was in fact, as noted supra at ¶ 105, the position of the
22   criminal trial judge).
     45 The legislative history indicates Congress intended “that parole decision
23   making be independent of … the investigative and prosecutorial functions of the
24   Department of Justice.” S. Rep. No. 94-648, at 21 (1976) (Conf. Rep.). This
     independence was intended by Congress to “guard against influence in case
25   decisions." S. Rep. No. 94-369, at 20 (1975). However, here the Parole
26   Commission granted undue authority to the prosecutor and investigator over
     matters outside their purview, such as Petitioner’s post-conviction institutional
27   conduct and Petitioner’s current state of mind.
28                                                             Center for Human Rights & Constitutional Law
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1          138. Despite its rule at 28 CFR § 2.55 stating that at subsequent hearings
2
     “the Commission only considers information concerning significant
3
     developments or changes in the prisoner's status since … a prior interim
4
5    hearing,” the Commission denied parole in 2016 and incorporates its 2016
6
     decision into its 2018 decision based in part on the statements of Jacobson,
7
     Mitchell and other victims’ relatives and associates even though prior to 2016
8
9    the Commission had never relied on these statements to deny parole. Nor did
10
     these statements remotely address “significant developments or changes in the
11
     prisoner's status since … a prior interim hearing.”
12
13   N.    Data released by the Commission under the FOIA shows that the
           Commission has applied alleged rule violations far differently in
14
           Petitioner’s case than in any other federal inmate’s case.
15
           139. In their FOIA Response dated September 23, 2016, the Parole
16
17   Commission provided Petitioner with Notices of Action for every Mandatory
18
     Parole Decision that the Commission issued in the past 24 months.
19
           140. The Notices of Action issued by the Commission over a two year
20
21   period show that when the Commission denied a prisoner parole based on
22
     “frequent” rule violations, the mean number of violations was 20.5 with the
23
                                                          46
24   highest number being 53 and the lowest being 7. In contrast, Petitioner has a

25
26   46 In the case of the prisoner denied mandatory parole for 7 rule violations,
     nearly all of the offenses involved serious acts of violence, including killing
27   multiple inmates, several assaults, possessing weapons, and threatening bodily
28   harm.
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1    handful of minor rule violations in 28 years. With regard to Petitioner’s single,
2
     27-year old “serious” violation for a “positive” urine test, it appears that not one
3
     prisoner was denied parole based on a single rule violation involving drugs. In
4
5    every case in which the Commission cited drug use as a basis of denial, it was
6
     either for frequent drug abuses or it was followed by a violent offense.
7
     Petitioner has never incurred a single rule violation involving violent speech or
8
9    conduct in over 30 years of Federal incarceration.
10
     O.    The Commission failed to take into consideration the Comprehensive
11         Risk Assessment Report regarding Petitioner’s rehabilitation
12
           141. Petitioner’s pre-hearing submission urged the Commission to
13
14   consider the Comprehensive Risk Assessment Report prepared by Dr.

15   Jonathan Mathew Fabian, Psy.D, J.D., ABPP.47 Dr. Fabian reports in
16
     relevant part: “There was no elevation for psychopathy or severe criminal
17
18   personality. There was no clinically significant elevation for

19   intra/interpersonal problems, alcohol/drug problems, aggression or
20
     negative social influences.” Forensic Psychological Evaluation, Forensic
21
22
23
24   47 In evaluating the Petitioner, Dr. Fabian administered and considered several
     well established tests/criteria including the Federal Post-Conviction Risk
25   Assessment, Level of Service Inventory-Revised (LSI-R), the Hare Psychopathy
26   Checklist-Revised (Hare PCLR), and the Inventory of Offender Risk, Needs, and
     Strengths (IORNS). These are all tests commonly used by law enforcement
27   agencies, courts and experts to assess the risk of someone offending if released
28   from custody on probation or parole.
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1    Neuropsychological Evaluation, Pre-Parole Risk Assessment at 15.48 It is
2
     Dr. Fabian’s opinion that his score on the Hare PCL-R is about 7,
3
     indicating very low and no significant anti-social and psychopathic
4
5    personality traits. Id. at 14.
6
            142. Dr. Fabian concludes: “[Today the Petitioner] is more an advocate
7
     of equal human rights through peaceful means … He has not been involved with
8
9    gang-related behaviors or the Black Guerilla family, for example. Rather, he has
10
     been considered as a mentor and a peacekeeper within the prison system …” Id.
11
12                               FIRST CLAIM FOR RELIEF
13
            VIOLATION OF PAROLE COMMISSION AND REORGANIZATION ACT 18 U.S.C.
14          § 4206(D) AS INTERPRETED AND APPLIED IN 28 C.F.R. § 2.53 BY
15          EFFECTIVELY MAKING DENIAL OF MANDATORY PAROLE A FINAL AND
            PERMANENT DENIAL OF PAROLE
16
17          143. Petitioner realleges and incorporates into this claim of relief the
18   allegations made in paragraphs 1-142 of this Complaint.
19
            144. The Commission’s regulation and policy applied in this case and
20
21   all similar cases precluding release on parole under § 4206(a) if the
22   Commission finds an inmate ineligible for release under § 4206(d) conflicts
23
24
25
26
     48 On the LSI-R test, “he presents as a low-risk/needs group. His cumulative
27   frequency for prison inmates was 6.6%, meaning that 93-94% of the inmates
28   would have higher scores than him.” Id. at 15.
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1    with the Parole Commission and Reorganization Act and violates prisoners’
2
     Fifth Amendment due process and equal protection rights.
3
           145. Section 4206(d) creates a liberty interest that inmates possess to
4
5    have the Commission adopt consistent and rational standards for what
6
     constitutes “frequent[ ]” and “serious[ ]” rule violations and to have the rules
7
     applied consistently to Petitioner and all similarly situated inmates considered
8
9    for release on parole. The Commission’s failure to issue guidelines or standards
10
     regarding its interpretation of the terms “frequently” and “seriously” as used in
11
     § 4206(d), and its inconsistent application of these terms in Petitioner’s and
12
13   proposed class members’ cases violates the Parole Commission and
14
     Reorganization Act, and the due process clause and equal protection guarantees
15
     of the Fifth Amendment as this failure deprives Petitioner and proposed class
16
17   members of fair parole hearings that do not lead to entirely arbitrary,
18
     unreasonable, unwarranted, and unauthorized denials of parole.
19
           146. Petitioner and the proposed class members are therefore in custody
20
21   in violation of the laws of the United States.
22
23                            SECOND CLAIM FOR RELIEF

24         THE BUREAU OF PRISONS VIOLATED ITS REGULATIONS, DUE PROCESS
25         AND EQUAL PROTECTION BY CHARGING PETITIONER WITH AN OFFENSE
           NOT DEFINED IN RESPONDENT’S RULES, DESTROYING THE PRIMARY
26         EVIDENCE ALLEGEDLY SHOWING A TELEPHONE RULE VIOLATION,
27         ASSIGNING A HEARING DISCIPLINARY OFFICER NOT QUALIFIED UNDER

28                                                              Center for Human Rights & Constitutional Law
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1          BOP RULES, AND THWARTING PETITIONER’S ABILITY TO FILE A TIMELY
           APPEAL.
2
3          147. Petitioner realleges and incorporates into this claim of relief the
4
     allegations made in paragraphs 1-142 of this Complaint.
5
           148. The BOP violated its rules and procedures and the due process
6
7    clause of the Fifth Amendment when it found Petitioner had violated prison
8
     rules when no BOP rule states that an inmate may not be placed on a speaker
9
     phone when calling someone on the prisoner’s approved telephone list and
10
11   speak to other people present with the person called.
12
           149. The BOP violated its rules and procedures and the due process
13
     clause of the Fifth Amendment when it destroyed the tape recording of the
14
15   telephone call that formed the basis for the disciplinary charge over Petitioner’s
16
     objection prior to the hearing and resolution of any appeals. BOP’s Inmate
17
     Discipline Program requires that “if the inmate requests exculpatory evidence,
18
19   such as video or audio surveillance, the investigator must make every effort to
20
     review and preserve the evidence.” BOP Prog. Stat. 5270.09 § 541.5(b)(2) (July
21
     8, 2011). See also 28 C.F.R. 541.7(e) (stating that prisoners “are entitled to
22
23   make a statement and present documentary evidence to the UDC on [their] own
24
     behalf.”); 28 C.F.R. § 541.8(f) (stating that prisoners “are entitled to make a
25
     statement and present documentary evidence to the DHO on [their] own
26
27   behalf.”).
28                                                              Center for Human Rights & Constitutional Law
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1          150. The BOP also violated Petitioner’s due process and equal
2
     protection rights by charging him with a rule violation when other similarly
3
     situated prisoners are never similarly charged. The BOP’s actions as alleged
4
5    above were arbitrary, unreasonable, unwarranted, and unauthorized.
6
           151. Petitioner is therefore in custody in violation of the laws of the
7
     United States.
8
9                              THIRD CLAIM FOR RELIEF
10
           VIOLATION OF PAROLE COMMISSION AND REORGANIZATION ACT, AGENCY
11         REGULATIONS, THE ADMINISTRATIVE PROCEDURES ACT, AND DUE PROCESS
           BY FAILING TO PROVIDE PRE-HEARING DISCLOSURES.
12
13         152. Petitioner realleges and incorporates into this claim of relief the
14
     allegations made in paragraphs 1-142 of this Complaint.
15
           153. 28 U.S.C. § 4208(b) and 28 C.F.R. § 2.55 require the Commission
16
17   provide certain pre-hearing disclosures to inmates appearing in parole hearings.
18
     These provisions are mandatory and so they also create a liberty interest that
19
     inmates possess to receive pre-hearing disclosures. The Commission’s failure to
20
21   provide full pre-hearing disclosure was arbitrary, unreasonable, unwarranted,
22
     and unauthorized, and violated the Parole Commission and Reorganization Act,
23
     the Administrative Procedures Act, the Commission’s promulgated regulations,
24
25   and the due process clause of the Fifth Amendment as this failure deprived
26
     Petitioner of a fundamentally fair parole hearing leading to the denial of release
27
     on parole.
28                                                              Center for Human Rights & Constitutional Law
     PETITION FOR A WRIT OF HABEASU CORPUS
                                                                                     256 S. Occidental Blvd.
     PURSUANT TO                                                                     Los Angeles, CA 90057
     28 U.S.C. § 2241                                                                         213/388-8693
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1          154. Petitioner is therefore in custody in violation of the laws of the
2
     United States.
3
                              FOURTH CLAIM FOR RELIEF
4
5          THE COMMISSION VIOLATED ITS RULES, DUE PROCESS AND EQUAL
           PROTECTION BY RELYING UPON ALLEGEDLY ADVERSE FACTORS NOT RELIED
6
           UPON BY THE COMMISSION IN PREVIOUS INTERIM PAROLE HEARINGS.
7
8          155. Petitioner realleges and incorporates into this claim of relief the

9    allegations made in paragraphs 1-142 of this Complaint.
10
           156. Despite its rule at 28 C.F.R. § 2.55 stating that at subsequent
11
12   hearings “the Commission only considers information concerning significant

13   developments or changes in the prisoner's status since … a prior interim
14
     hearing” (emphasis added), the Commission denied parole in 2016 and 2018
15
16   based on numerous facts and allegedly adverse evidence the Commission had

17   not relied upon in Petitioner’s 2014 and previous parole hearings, including (i)
18
     the written submissions and testimony of U.S. Attorney Jacobson and former
19
20   FBI agent Mitchell, (ii) the fact that over 30 years Petitioner had sometimes

21   referred to himself as a “victim” of the FBI’s illegal COINTELRO program, (iii)
22
     the fact that over 30 years Petitioner had sometimes referred to himself as a
23
24   “political prisoner,” (iv) the fact that over 30 years Petitioner had sometimes

25   signed letters with the salutation “stiff resistance,” (v) the fact that in 2003
26
     Petitioner had minor telephone use violations, and (vi) the fact that over 27 years
27
28   before the hearing Petitioner had a rule violation for a positive urine test. In 2014
     PETITION FOR A WRIT OF HABEASU CORPUS                        Center for Human Rights & Constitutional Law
                                                                                       256 S. Occidental Blvd.
     PURSUANT TO                                                                       Los Angeles, CA 90057
     28 U.S.C. § 2241                                                                           213/388-8693
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1    the Commission denied parole (after the Hearing Examiner recommended
2
     granting parole) only because in 2013 the Petitioner had a rule violation based
3
     on his telephone call to Professor Karen Stanford who briefly placed him on a
4
5    speakerphone so his comments supporting non-violent social change could be
6
     heard by university students. None of the matters described above involved
7
     “significant developments or changes in the prisoner's status since … [the] prior
8
9    interim hearing …” 28 C.F.R. § 2.55. The Commission’s actions described
10
     above were arbitratry, unreasonable, unwarranted, and unauthorized, and
11
     violated the Parole Commission and Reorganization Act, 28 C.F.R. § 2.55, and
12
13   the due process clause and equal protection guarantees of the Fifth Amendment.
14
           157. Petitioner is therefore in custody in violation of the laws of the
15
     United States.
16
17                              FIFTH CLAIM FOR RELIEF
18
           THE COMMISSION MISCONSTRUED THE PLAIN MEANING OF AND VIOLATED
19         18 U.S.C. § 4206(D) BY PRETEXTUALLY FINDING A SINGLE 28-YEAR-OLD
           POSITIVE DRUG TEST A “SERIOUS” VIOLATION FOREVER PRECLUDING
20
           PAROLE.
21
           158. Petitioner realleges and incorporates into this claim of relief the
22
23   allegations made in paragraphs 1-142 of this Complaint.
24
           159. Before and again in 2018 the Commission failed to disclose its
25
     criteria for deciding whether an old prison rule violation was “serious”
26
27   preventing release under 28 USC § 4206(d), and inconsistently and arbitrarily
28                                                             Center for Human Rights & Constitutional Law
     PETITION FOR A WRIT OF HABEASU CORPUS
                                                                                    256 S. Occidental Blvd.
     PURSUANT TO                                                                    Los Angeles, CA 90057
     28 U.S.C. § 2241                                                                        213/388-8693
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1    concluded some rule violations are serious and others not, including escapes
2
     and attempted escapes, which are obviously more serious than the ancient
3
     positive drug test used as a basis to deny parole in this case. The Commission’s
4
5    failure to issue guidelines or standards regarding its interpretation of the term
6
     “serious” as used in § 4206(d) and its inconsistent application of the term are
7
     arbitratry, unreasonable, unwarranted, and unauthorized, and violate the Parole
8
9    Commission and Reorganization Act, and the due process clause and equal
10
     protection guarantee of the Fifth Amendment.
11
           160. Petitioner is therefore in custody in violation of the laws of the
12
13   United States.
14
                               SIXTH CLAIM FOR RELIEF
15
16         THE COMMISSION’S VIOLATION OF REGULATIONS, DUE PROCESS AND
           EQUAL PROTECTION BY RELYING UPON PETITIONER’S ALLEGED 2013
17         TELEPHONE RULE VIOLATION

18
           161. Petitioner realleges and incorporates into this claim of relief the
19
20   allegations made in paragraphs 1-142 of this Complaint.

21         162. The Commission’s denial of parole based on an alleged rule
22
     violation involving a February 5, 2013 telephone call by Petitioner to a group of
23
24   university students violates the Parole Commission and Reorganization Act and

25   the due process clause of the Fifth Amendment inasmuch as the Commission
26
     was fully advised that (i) the telephone call violated no known BOP rule, (ii) the
27
28   BOP destroyed the tape recording of the call prior to the disciplinary hearing,
     PETITION FOR A WRIT OF HABEASU CORPUS                       Center for Human Rights & Constitutional Law
                                                                                      256 S. Occidental Blvd.
     PURSUANT TO                                                                      Los Angeles, CA 90057
     28 U.S.C. § 2241                                                                          213/388-8693
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1    and (iii) the BOP thwarted the Petitioner’s ability to appeal the decision of a
2
     rule violation because he was in lock down when the appeal was due.
3
           163. Petitioner is therefore in custody in violation of the laws of the
4
5    United States.
6
                             SEVENTH CLAIM FOR RELIEF
7
           THE COMMISSION MISCONSTRUED AND VIOLATED 18 U.S.C. § 4206(D)
8
           WHEN IT ERRONEOUSLY CONCLUDED PETITIONER IS LIKELY TO REOFFEND IF
9          RELEASED BECAUSE IN THE PAST HE HAS REFERRED TO HIMSELF AS A
           “VICTIM” OF THE FBI’S COINTELPRO PROGRAM.
10
11         164. Petitioner realleges and incorporates into this claim of relief the
12
     allegations made in paragraphs 1-142 of this Complaint.
13
           165. The Commission unreasonably and unlawfully concluded
14
15   Petitioner is likely to reoffend if released on parole because he has referred to
16
     himself as a subject of the FBI’s illegal COINTELRO program. In fact, Trial
17
     Judge Haight, Jr. stated in this case that documents obtained under the FOIA
18
19   “demonstrate that for a considerable time Shakur …[has] been the subject of
20
     illegal surveillance, harassment, and disinformation by the FBI as part of that
21
     lamented, unconstitutional project known as COINTELPRO.” United States v.
22
23   Shakur, 1988 U.S. Dist. LEXIS 2762, pp. 16-17 (F, 1988). The Commission
24
     also violated its regulations by relying on Petitioner’s statement that he was a
25
     victim of the COINTELPRO program, when it did not rely on this conduct in its
26
27   earlier parole hearings and decisions. Section 4206(d) creates a liberty interest
28                                                              Center for Human Rights & Constitutional Law
     PETITION FOR A WRIT OF HABEASU CORPUS
                                                                                     256 S. Occidental Blvd.
     PURSUANT TO                                                                     Los Angeles, CA 90057
     28 U.S.C. § 2241                                                                         213/388-8693
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1    that inmates will have a fair hearing and will not be denied parole based on
2
     false facts relied upon by the Commission contradicted by undisputed facts set
3
     forth in the record. The Commission’s actions described above were arbitrary,
4
5    unreasonable, unwarranted, and unauthorized, and violate the Parole
6
     Commission and Reorganization Act, and the due process clause and equal
7
     protection guarantee of the Fifth Amendment.
8
9          166. Petitioner is therefore in custody in violation of the laws of the
10
     United States.
11
                              EIGHTH CLAIM FOR RELIEF
12
13         THE COMMISSION MISCONSTRUED AND VIOLATED 18 U.S.C. § 4206(D)
           WHEN IT ERRONEOUSLY CONCLUDED PETITIONER IS LIKELY TO REOFFEND IF
14
           RELEASED BECAUSE IN THE PAST HE HAS REFERRED TO HIMSELF AS A
15         “POLITICAL” PRISONER.
16
           167. Petitioner realleges and incorporates into this claim of relief the
17
     allegations made in paragraphs 1-142 of this Complaint.
18
19         168. The Commission arbitrarily and unlawfully concluded Petitioner is
20
     likely to reoffend if released on parole because he has in the past occasionally
21
     referred to himself as a “political” prisoner. Petitioner has never argued that his
22
23   conviction is “political” in nature. He has said that the crimes of which he was
24
     convicted were politically motivated. The indictment itself discusses the
25
     political nature of the crimes charged. During the trial, U.S. District Judge
26
27   Charles S. Haight, Jr. acknowledged the political nature of Petitioner’s history,
28                                                              Center for Human Rights & Constitutional Law
     PETITION FOR A WRIT OF HABEASU CORPUS
                                                                                     256 S. Occidental Blvd.
     PURSUANT TO                                                                     Los Angeles, CA 90057
     28 U.S.C. § 2241                                                                         213/388-8693
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1    circumstance, motivation and intentions related to his conviction. These facts
2
     are in the record but were ignored by the Commission. The Commission also
3
     violated its regulations by relying on Petitioner’s use of the term “political”
4
5    prisoner when it did not rely on this conduct in its earlier parole hearings and
6
     decisions. Section 4206(d) creates a liberty interest that inmates will have a fair
7
     hearing, will not be denied parole based on false facts relied upon by the
8
9    Commission contradicted by facts in the record, and will be treated in a manner
10
     similar to similarly situated inmates seeking release on parole. The
11
     Commission’s actions described above were arbitrary, unreasonable,
12
13   unwarranted, and unauthorized, and violate the Parole Commission and
14
     Reorganization Act, and the due process clause and equal protection guarantee
15
     of the Fifth Amendment.
16
17         169. Petitioner is therefore in custody in violation of the laws of the
18
     United States.
19
                               NINTH CLAIM FOR RELIEF
20
21         THE COMMISSION MISCONSTRUED AND VIOLATED 18 U.S.C. § 4206(D)
           WHEN IT ERRONEOUSLY CONCLUDED PETITIONER IS LIKELY TO REOFFEND IF
22
           RELEASED ON PAROLE BECAUSE HE HAS OCCASIONALLY ENDED LETTERS
23         WITH THE SALUTATION “STIFF RESISTANCE”.

24
           170. Petitioner realleges and incorporates into this claim of relief the
25
     allegations made in paragraphs 1-142 of this Complaint.
26
27
28                                                               Center for Human Rights & Constitutional Law
     PETITION FOR A WRIT OF HABEASU CORPUS
                                                                                      256 S. Occidental Blvd.
     PURSUANT TO                                                                      Los Angeles, CA 90057
     28 U.S.C. § 2241                                                                          213/388-8693
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1          171. The Commission unreasonably and unlawfully concluded
2
     Petitioner is likely to reoffend if released on parole because he has twice long
3
     ago ended letters with the salutation “stiff resistance.” Petitioner made clear that
4
5    the salutation "stiff resistance" has been to serve to fortify an individual's
6
     character and resolve in the face of their specific challenges, and Petitioner has
7
     “never intended its use to encourage criminality ...” He renounced using the
8
9    term “stiff resistance” two years ago. Congress could not possibly have
10
     intended that in denying parole the Commission would ignore an inmate’s
11
     consistent substantive message of peace and conciliation in his letters and
12
13   public statements for several decades while focusing entirely on a salutation at
14
     the close of two letters to keep a rehabilitated inmate in prison likely until he
15
     dies. The Commission also violated its regulations by relying on Petitioner’s
16
17   “stiff resistance” salutation when it did not rely on this conduct in its earlier
18
     parole hearings and decisions. Section 4206(d) creates a liberty interest that
19
     inmates will have a fair hearing, will not be denied parole based on false facts
20
21   relied upon by the Commission contradicted by facts set forth in the record, and
22
     will be treated in a manner similar to similarly situated inmates seeking release
23
     on parole. The Commission’s actions described above were arbitrary,
24
25   unreasonable, unwarranted, and unauthorized, and violate the Parole
26
     Commission and Reorganization Act, and the due process clause and equal
27
     protection guarantee of the Fifth Amendment.
28                                                                Center for Human Rights & Constitutional Law
     PETITION FOR A WRIT OF HABEASU CORPUS
                                                                                       256 S. Occidental Blvd.
     PURSUANT TO                                                                       Los Angeles, CA 90057
     28 U.S.C. § 2241                                                                           213/388-8693
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1          172. Petitioner is therefore in custody in violation of the laws of the
2
     United States.
3
                               TENTH CLAIM FOR RELIEF
4
5          THE COMMISSION MISCONSTRUED AND VIOLATED 18 U.S.C. § 4206(D)
           WHEN IT UNREASONABLY CONCLUDED PETITIONER’S ACCEPTANCE OF
6
           RESPONSIBILITY WAS NOT CREDIBLE AND HE IS THEREFORE LIKELY TO
7          REOFFEND IF RELEASED ON PAROLE.

8
           173. Petitioner realleges and incorporates into this claim of relief the
9
     allegations made in paragraphs 1-142 of this Complaint.
10
11         174. The Commission unreasonably and unlawfully concluded
12
     Petitioner is likely to reoffend if released on parole because his statements
13
     accepting responsibility for the underlying crimes is recent and therefore
14
15   insincere. Petitioner has accepted responsibility for the crimes and expressed
16
     remorse for many years and there is no evidence his acceptance of
17
     responsibility is not sincere. Congress did not intend that the Commission
18
19   would ignore an inmate’s consistent substantive message of peace and
20
     conciliation in his letters and public statements for several decades while
21
     relying on a finding, unsupported in the record, that his acceptance of
22
23   responsibility is not sincere and therefore he is likely to reoffend if released on
24
     parole. Section 4206(d) creates a liberty interest that inmates will have a fair
25
     hearing, will not be denied parole based on conclusions unsupported in the
26
27   record and disputed by an abundance of uncontroverted facts in the record, and
28                                                               Center for Human Rights & Constitutional Law
     PETITION FOR A WRIT OF HABEASU CORPUS
                                                                                      256 S. Occidental Blvd.
     PURSUANT TO                                                                      Los Angeles, CA 90057
     28 U.S.C. § 2241                                                                          213/388-8693
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1    will be treated in a manner similar to similarly situated inmates seeking release
2
     on parole. The Commission’s actions described above were arbitrary,
3
     unreasonable, unwarranted, and unauthorized, and violate the Parole
4
5    Commission and Reorganization Act, and the due process clause and equal
6
     protection guarantee of the Fifth Amendment.
7
           175. Petitioner is therefore in custody in violation of the laws of the
8
9    United States.
10
                            ELEVENTH CLAIM FOR RELIEF
11
           THE COMMISSION MISCONSTRUED AND VIOLATED 18 U.S.C. § 4206(D)
12
           WHEN IT UNREASONABLY CONCLUDED PETITIONER’S CIRCUMSTANCES HAD
13         NOT CHANGED SINCE THE COMMISSION’S PREVIOUS DENIAL OF PAROLE.

14
           176. Petitioner realleges and incorporates into this claim of relief the
15
     allegations made in paragraphs 1-142 of this Complaint.
16
17         177. The Commission arbitrarily and unlawfully concluded Petitioner
18
     had presented no new facts warranting reconsideration of its prior decision
19
     denying parole when Petitioner in fact presented new evidence including an
20
21   unequivocal assessment by BOP leadership that Petitioner is rehabilitated and is
22
     unlikely to reoffend if released on parole, firm and realistic job offers, and
23
     uncontroverted evidence that for two years Petitioner no longer used the
24
25   salutation “Stiff Resistance.” Section 4206(d) creates a liberty interest that
26
     inmates will have a fair hearing, will not be denied parole based on conclusions
27
     unsupported in the record and disputed by an abundance of uncontroverted facts
28                                                               Center for Human Rights & Constitutional Law
     PETITION FOR A WRIT OF HABEASU CORPUS
                                                                                      256 S. Occidental Blvd.
     PURSUANT TO                                                                      Los Angeles, CA 90057
     28 U.S.C. § 2241                                                                          213/388-8693
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1    in the record, and will be treated in a manner similar to similarly situated
2
     inmates seeking release on parole. The Commission’s actions described above
3
     were arbitrary, unreasonable, unwarranted, and unauthorized, and violate the
4
5    Parole Commission and Reorganization Act, and the due process clause and
6
     equal protection guarantee of the Fifth Amendment.
7
           178. Petitioner is therefore in custody in violation of the laws of the
8
9    United States.
10
                                TWELFTH CLAIM FOR RELIEF
11
           VIOLATION OF DUE PROCESS AND EQUAL PROTECTION BY COMMISSION
12
           ADOPTING RULE VIOLATIONS DIFFERENTLY IN PETITIONER’s CASE THAN IN
13         OTHER FEDERAL INMATES’ CASES OVER THE PAST SEVERAL YEARs

14
           179. Petitioner realleges and incorporates into this claim of relief the
15
     allegations made in paragraphs 1-142 of this Complaint.
16
17         180. The Commission arbitrarily and without a rational basis, in
18
     violation of the equal protection guarantee of the Fifth Amendment, treated
19
     Petitioner’s eligibility for release on parole far more harshly than the manner in
20
21   which it adjudicated all other parole cases. There is no lawful basis for this
22
     disparate and discriminatory treatment. In this case the Commission failed to
23
     act as a neutral, unbiased decision-maker, and made arbitrary and result-
24
25   oriented decisions aimed at denying Petitioner release on mandatory or
26
     discretionary parole. The Commission’s actions described above were arbitrary,
27
     unreasonable, unwarranted, and unauthorized, and violate the Parole
28                                                              Center for Human Rights & Constitutional Law
     PETITION FOR A WRIT OF HABEASU CORPUS
                                                                                     256 S. Occidental Blvd.
     PURSUANT TO                                                                     Los Angeles, CA 90057
     28 U.S.C. § 2241                                                                         213/388-8693
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1    Commission and Reorganization Act, and the due process clause and equal
2
     protection guarantee of the Fifth Amendment.
3
           181. Petitioner is therefore in custody in violation of the laws of the
4
5    United States.
6
                           THIRTEENTH CLAIM FOR RELIEF
7
                              FIRST AMENDMENT RETALIATION
8
9          182. Petitioner realleges and incorporates into this claim of relief the
10
     allegations made in paragraphs 1-142 of this Complaint.
11
           183. The Commission’s focus on Petitioner’s protected non-violent
12
13   political speech in its Notices of Decision violated Petitioner’s rights to political
14
     speech under the First Amendment. The Commission’s actions described above
15
     were arbitrary, unreasonable, unwarranted, and unauthorized, and violate the
16
17   Parole Commission and Reorganization Act, and the due process clause and
18
     equal protection guarantee of the Fifth Amendment.
19
           184. Petitioner is therefore in custody in violation of the laws of the
20
21   United States.
22
                             FOURTEENTH CLAIM FOR RELIEF
23
           THE COMMISSION VIOLATED THE PAROLE COMMISSION AND
24
           REORGANIZATION ACT AND REGULATIONS PROMULGATED THEREUNDER
25         BY CONSIDERING IRRELEVANT TESTIMONY FROM A FORMER PROSECUTOR
           AND FBI INVESTIGATOR AS TO PETITIONER’S POST-CONVICTION CONDUCT
26
           AND STATE OF MIND.
27
28                                                               Center for Human Rights & Constitutional Law
     PETITION FOR A WRIT OF HABEASU CORPUS
                                                                                      256 S. Occidental Blvd.
     PURSUANT TO                                                                      Los Angeles, CA 90057
     28 U.S.C. § 2241                                                                          213/388-8693
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1          185. Petitioner realleges and incorporates into this claim of relief the
2
     allegations made in paragraphs 1-142 of this Complaint.
3
           186.   The testimony of AUSA Jacobson and retired FBI Agent Mitchell
4
5    as to Petitioner’s post-conviction conduct and current state of mind in 2016 and
6
     2018, was irrelevant and considered in contravention of the Commission’s
7
     duties under the PCRA to remain independent of prosecutorial influence and to
8
9    exclude any repetitious or irrelevant testimony. The Commission permitted the
10
     majority of time during the 2016 and 2018 hearings to be dedicated to law
11
     enforcement and victims’ testimony irrelevant t the factors contained in §
12
13   4206(d). None of this testimony involved “significant developments or changes
14
     in the prisoner's status since … [the] prior interim hearing …” 28 C.F.R. § 2.55.
15
     On information and belief, the Commission does not consider such extraneous
16
17   testimony in similar cases. The Commission’s actions described above were
18
     arbitrary, unreasonable, unwarranted, and unauthorized, and violate the Parole
19
     Commission and Reorganization Act, 22 C.F.R. § 2.55, and the due process
20
21   clause and equal protection guarantee of the Fifth Amendment.
22
           187. Petitioner is therefore in custody in violation of the laws of the
23
     United States.
24
25                                 PRAYER FOR RELIEF
26
27         WHEREFORE, Petitioner respectfully requests that this Court:
28                                                             Center for Human Rights & Constitutional Law
     PETITION FOR A WRIT OF HABEASU CORPUS
                                                                                    256 S. Occidental Blvd.
     PURSUANT TO                                                                    Los Angeles, CA 90057
     28 U.S.C. § 2241                                                                        213/388-8693
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1         1.      Grant Petitioner’s Petition for Writ of Habeas Corpus pursuant to §
2
     2241 and Order Petitioner released on parole or alternatively order a new parole
3
     hearing to be held within 30 days and in compliance with relevant statutes, the
4
5    Commission’s extant rules and regulations, the Constitution, and such Orders as
6
     this Court may issue;
7
          2.      Certify a class as proposed herein and issue a declaratory judgment
8
9    and permanent injunction requiring that the Commission consider Petitioner and
10
     similarly situated prisoners for release on parole under the terms of both 18
11
     U.S.C. § 4206 (a) and (d), and issue standards regarding and consistently apply
12
13   its interpretation of the terms “serious” and “frequently” as used in § 4206(d);
14
          3.      Issue judgment that the Commission’s failure to provide Petitioner
15
     with pre-hearing records or evidence the Commission relied upon to deny
16
17   release in 2016 and 2018 violated the Parole Commission and Reorganization
18
     Act, the regulations issued thereunder, and the due process guarantee of the
19
     Fifth Amendment and enjoin the Commission in any further parole hearing from
20
21   not disclosing to Petitioner 30 days prior to the hearing any records or evidence
22
     the Commission intends to rely upon in making a parole decision;
23
          4.      Issue a judgment that the Commission’s reliance on allegedly
24
25   adverse facts or evidence predating previous parole hearings and that are
26
     unrelated to significant developments or changes in the prisoner's status since
27
     the prior interim hearing violates the Parole Commission and Reorganization
28                                                             Center for Human Rights & Constitutional Law
     PETITION FOR A WRIT OF HABEASU CORPUS
                                                                                    256 S. Occidental Blvd.
     PURSUANT TO                                                                    Los Angeles, CA 90057
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1    Act, 28 C.F.R. § 2.55, and the due process and equal protection guarantees of
2
     the Fifth Amendment, and issue an injunction enjoining the Commission in any
3
     further parole hearing from relying on alleged adverse facts or evidence
4
5    unrelated to significant developments or changes in the prisoner's status since
6
     the prior interim hearing;
7
          5.      Issue a judgment that the Commission’s failure to issue standards
8
9    and ad hoc approach regarding how it defines “serious” rule violations and
10
     whether Petitioner has “frequently” violated rules precluding release un
11
     §4206(d) violates the Parole Commission and Reorganization Act, the
12
13   regulations issued thereunder, and the due process and equal protection
14
     guarantees of the Fifth Amendment, and enjoin the Commission in any further
15
     parole hearings from denying release on parole based on alleged past “serious”
16
17   rule violations or a prisoner having “frequently” violated rules without
18
     providing Petitioner and proposed class members with the Commission’s
19
     interpretation of these terms equally applied to all prisoners eligible for release
20
21   under § 4206(d);
22
          6.       Issue a judgment that the Commission’s reliance on Petitioner’s
23
     past occasional reference to himself as a victim of COINTELPRO, a “political”
24
25   prisoner, and twice using the salutation “stiff resistance” to deny parole violates
26
     the Parole Commission and Reorganization Act, the regulations issued
27
     thereunder, and the First Amendment and due process and equal protection
28                                                               Center for Human Rights & Constitutional Law
     PETITION FOR A WRIT OF HABEASU CORPUS
                                                                                      256 S. Occidental Blvd.
     PURSUANT TO                                                                      Los Angeles, CA 90057
     28 U.S.C. § 2241                                                                          213/388-8693
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1    guarantees of the Fifth Amendment, and enjoin the Commission in any further
2
     parole hearing from denying release because Petitioner in the past occasionally
3
     referred to himself as a victim of COINTELPRO, a “political” prisoner, and on
4
5    two known occasions used the salutation “stiff resistance”;
6
          7.      Issue a judgment that the Commission’s failure to consider
7
     Petitioner’s exemplary prison record and repeated and long-standing opposition
8
9    to violence to achieve social change violates the Parole Commission and
10
     Reorganization Act, the regulations issued thereunder, and the due process and
11
     equal protection guarantees of the Fifth Amendment, and enjoin the
12
13   Commission in any further parole hearing from ignoring Petitioner’s exemplary
14
     prison record and repeated and long-standing stand against violence to achieve
15
     social change;
16
17        8.      Issue a judgment that the Commission’s reliance on a 27-year old
18
     positive drug test to deny parole violates the Parole Commission and
19
     Reorganization Act, the regulations issued thereunder, and the due process and
20
21   equal protection guarantees of the Fifth Amendment, and enjoin the
22
     Commission in any further parole hearing held under. § 4206(d) from relying on
23
     the twenty-seven year old drug test to deny release on parole;
24
25        9.      Issue a judgment that the Commission’s reliance on old minor
26
     telephone rule violations to deny parole because they allegedly show that
27
     Petitioner “frequently” violated prison rules during almost thirty years of
28                                                             Center for Human Rights & Constitutional Law
     PETITION FOR A WRIT OF HABEASU CORPUS
                                                                                    256 S. Occidental Blvd.
     PURSUANT TO                                                                    Los Angeles, CA 90057
     28 U.S.C. § 2241                                                                        213/388-8693
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1    incarceration violates the Parole Commission and Reorganization Act, the
2
     regulations issued thereunder, and the due process and equal protection
3
     guarantees of the Fifth Amendment, and enjoin the Commission in any further
4
5    parole hearing from relying on these old telephone violations to deny release on
6
     parole because they allegedly show Petitioner “frequently” violated prison rules
7
     or show Petitioner is now likely to reoffend if released on parole;
8
9         10.      Issue a judgment that BOP’s telephone rule violation of March 20,
10
     2013, was issued by BOP in violation of BOP rules regarding the substance of
11
     telephone rule violations, after the destruction of relevant evidence, and
12
13   Petitioner’s appeal rights were interfered with, all in violation of BOP’s
14
     telephone use rules and Petitioner’s due process and equal rights, and direct the
15
     BOP to vacate its finding of a rule violation and enjoin the Commission from
16
17   relying on the alleged rule violation to deny Petitioner release on parole;
18
          11.      Award reasonable attorneys’ fees and costs pursuant to any
19
     applicable provisions of federal law; and
20
21        12.      Grant such other relief as Petitioner may seek and law and justice
22
     require.
23
     Dated: April 18, 2019                    PETER A. SCHEY
24
                                              CARLOS R. HOLGUIN
25                                            CENTER FOR HUMAN RIGHTS AND
                                              CONSTITUTIONAL LAW
26
27                                            BENJAMIN L. CRUMP, ESQUIRE
                                              PRESIDENT
28                                                              Center for Human Rights & Constitutional Law
      PETITION FOR A WRIT OF HABEASU CORPUS
                                                                                     256 S. Occidental Blvd.
      PURSUANT TO                                                                    Los Angeles, CA 90057
      28 U.S.C. § 2241                                                                        213/388-8693
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1                                             NATIONAL BAR ASSOCIATION
                                              PARKS & CRUMP, L.L.C.
2
3                                             MICHAEL BRENNAN
                                              HEIDI RUMMEL
4
                                              POST-CONVICTION JUSTICE PROJECT
5                                             USC GOULD SCHOOL OF LAW
6
                                              PROFESSOR LENNOX S. HINDS
7                                             DEIDRA L. MCEACHERN
                                              NATIONAL CONFERENCE OF BLACK
8
                                              LAWYERS
9
                                              OF COUNSEL:
10
11                                            MICHAEL W. WARREN
                                              LAW OFFICE OF MICHAEL WARREN, P.C.
12
13                                            TERI THOMPSON
                                              TERI THOMPSON, LLC
14
15
                                             Signed: /s/Peter A. Schey
16
17
     ///
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27
28                                                               Center for Human Rights & Constitutional Law
     PETITION FOR A WRIT OF HABEASU CORPUS
                                                                                      256 S. Occidental Blvd.
     PURSUANT TO                                                                      Los Angeles, CA 90057
     28 U.S.C. § 2241                                                                          213/388-8693
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1                                CERTIFICATE OF SERVICE
2
     I, Peter Schey, declare and say as follows:
3
              I am over the age of eighteen years of age and am a party to this action. I
4
5    am employed in the County of Los Angeles, State of California. My business
6
     address is 256 S. Occidental Blvd., Los Angeles, CA 90057, in said county and
7
     state.
8
9             On April 21, 2019 , I electronically filed the following document(s):
10
        • PLAINTIFFS' PETITION FOR WRIT OF HABEAS CORPUS
11
              PUSUANT TO 28 U.S.C. § 2241
12
13   with the United States District Court, Central District of California by using the
14
     CM/ECF system.
15
                                               /s/Peter Schey
16
                                               Attorney for Plaintiffs
17
18
19
20
21
22
23
24
25
26
27
28                                                                Center for Human Rights & Constitutional Law
     PETITION FOR A WRIT OF HABEASU CORPUS
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                                                   - 88 -
